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1 AO 91@;,“11/82> CRIMINAL CoMPLAINT
UNITED s'rATEs DisrRic'r CoURT cENrRAL DisrRicT oF CALrFoRNIA
DOCKET NO.
UNITED sTATEs oF AMERICA
V.

 

PHILIP JAMES LAYFIELD, aka Philip Samuel Pesin MAGISTRATE,S CASE NO_

59%31%=0®?0

Complaint for violation of Title 18, United States Code, Section 1341: Mail Fraud

 

 

 

 

 

 

 

 

 

 

 

 

 

NAME oF MAGISTRATE rUDGE LocATloN
UNITED STATES _ ,

HONORABLE STEVE KIM MAGISTRATE JUDGE Los Angeles, Califomia

DATE or oFFENsE PLACE oF oFFENsE ADDRESS or ACCUSED ar KNowN) ' vw

From in or about February Orange County, and Tamarindo, Costa Rica oL-§M'-MMHT

2016 to the present ElseWhere Within the

CDCA FEB 2 3 2018

CoMPLAn\IANT’s sTATEMENT oF FACTs coNsTlTUTiNG THB oFFENSE oR vloLATloN; CENT|'RAL D|STR|CT OF CAL!FORN!A

151 mason

 

Be ginning in or about February 2016, and continuing to the present, in Orange County, California,

Within the Central District of California, defendant PHILIP JAMES LAYFIELD, also known as Philip Samuel
Pesin, knowingly and With intent to defraud, devised, participated in, and executed a scheme to defraud J.N. as
to material matters and to obtain money and property from J.N. by means of false and fraudulent pretenses,
representations, and promises, and’,for the purpose of executing and attempting to execute the above-described
scheme to defraud, on or about March 9, 2016, caused a check (representing a partial, de minimus payment of
funds owed to J.N.) to be placed in an authorized depository for mail matter to be sent and delivered by the
United States Postal Service or a private or commercial interstate carrier, according to the directions thereon.

 

BASIS OF COIleLAINANT’S CHARGE AGA]NST THE ACCUSED:
(See attached Affldavit Which is incorporated herein by this reference as part of this Complaint)

 

MATERIAL wiTNEs_sEs iN REIlArIoN To THis CHARGE; N/A

 

 

 

 

 

 

\D 3 j "‘ sIGNATURE oF coMPLAiNANr
Being dulzqswbrn 1 declare that the / S/
regoing Ytru§ and coit\rect to the best MARK E' SPEIDEL
§§ my knOM§dg§ ' \ oFFrCIAL TITLE
¢¢j, 7 Special Agent Homeland Security Investi gat1ons
@rn to befo§`;§ne and subscribed in my presence,
sIG§ATURE oF MBISTR§T:E JUDGE<I> ~ DATE
STEVE KlM February 23, 2018

 

 

 

(1) See Federal Rules of Criminal Procedure 3 and 54
AUSA: Mark Aveis, USAO CDCA, Maj or Frauds Section, (213) 894-4477 REC: Detention

 

 

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AFFIDAVIT

I, MARK E. SPEIDEL, being duly sworn, declare and state as

follows:
I . INTRODUCTION
l. I am a Special Agent with the Department of Homeland

Security, Homeland Security Investigations (“HSI”), and have
served in this position for 15 years. I was previously employed
with the former U.S. Immigration and Naturalization Service
(“INS”) as a Special Agent for one year and as an INS
Immigration Inspector for four years. As part of my basic
training, I attended and graduated from the Federal Law
Enforcement Training Center in Glynco, Georgia in 1998.

2. Since becoming a Special Agent, I have received
training in the investigation of various financial frauds, money
laundering, and bulk cash smuggling, among other federal crimes.
I have also completed the HSI Asset Forfeiture and Financial
Investigations Program.

3. I have experience in conducting physical and
electronic surveillance, preparing written affidavits for
warrants and wire intercepts, collecting evidence, analyzing
financial records, interviewing suspects and witnesses,
conducting undercover operations, and utilizing confidential
informants.

4. I have personally conducted investigations related to
mail and wire fraud, money laundering and structuring of

proceeds from illegal activities, bulk cash smuggling, narcotics

 

 

 

trafficking, human trafficking, and public corruption. In many

 

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of the aforementioned investigations, I have utilized undercover
police officers and federal agents and served as the handler for
informants in cases that resulted in numerous state and federal
arrests and convictions, as well as the seizure and forfeiture
of U.S. currency and real property. y

5. I am currently assigned to the HSI Fraud Group for the
Assistant Special Agent in Charge in Orange County, California.
As part of my duties in this assignment, I investigate
individuals and organizations engaged in major fraud schemes and
the related laundering of proceeds derived therefrom.

II. PURPOSE OF AFFIDAVIT

6. This affidavit is made in support of a criminal
complaint against and request for issuance of an arrest warrant
for PHILIP JAMES LAYFIELD, also known as Philip Samuel Pesin
(“LAYFIELD”), for mail fraud, in violation of 18 U.S.C. § 1341.

7. The facts set forth in this affidavit are based upon
my personal observations, my training and experience, and
information obtained from various law enforcement personnel and
witnesses, This affidavit is intended to show merely that there
is probable cause for the requested complaint and arrest warrant
and does not purport to set forth all of my knowledge of or
investigation into this matter. Unless specifically indicated
otherwise, all conversations and statements described in this
affidavit are related in substance and in part only.

III. SU'MMARY OF PROBABLE CAUSE
8. Based upon the information described herein, I have

probable cause to believe that LAYFIELD, a lawyer, committed

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mail fraud in connection with a scheme to defraud his former
client, J.N., a personal injury plaintiff whom LAYFIELD
represented, as evidenced by at least the following acts:

a. Settling J.N.’s personal injury matter for nearly
$4 million, commingling the amount due to J.N. in LAYFIELD's
attorney-client trust account beyond the period permitted by
applicable ethics rules, and converting those settlement
proceeds to his own use and to cover the expenses of LAYFIELD's
failing law firm;

b. Increasing his professional fee by filing an
unnecessary civil complaint on J.N.’s behalf;

c. Failing to provide J.N. timely notice of the
availability of the settlement proceeds, and avoiding J.N.'s
inquiries regarding the proceeds in order to further enable
LAYFIELD to convert those proceeds to his use, to use the
proceeds to cover the expenses of LAYFIELD’s failing law firm,
and to enable LAYFIELD to flee the U.S. for the purpose of
dodging the claims of numerous clients whose settlement proceeds
he had also converted;

d. Concealing the embezzlement of J.N.’s portion of
the personal injury settlement by lulling J.N. into a false
sense of security by causing the mailing of a partial, de
minimus payment to J.N.;

e. Further concealing the unlawful disposition of
J.N.’s portion of the personal injury settlement by

misrepresenting to J.N. the need for a trust, which was never

executed;

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f. Closing down his office and relocating to Costa
Rica, with the intent to further conceal the fraud and deny J.N.
the ability to obtain an accounting of J.N.'s portion of the
personal injury case settlement; and

g. Filing a series of documents with both the State
Bar of California and the federal bankruptcy court, which were
designed to obfuscate LAYFIELD’s control and conversion of funds
owed to J.N. and dozens of other former clients.

IV. STATEMENT OF PROBABLE CAUSE
9. In or about October 2017, I was contacted by and met
with an investigator from the Orange County District Attorney’s
Office, as well as a Deputy District Attorney, who informed me
that they had opened an investigation against LAYFIELD for
alleged fraud and misappropriation of client settlement funds.
The investigator and Deputy D.A. noted that, based upon their
investigation to date, they believed this matter might be more
appropriately handled by federal authorities for several
reasons, including the potentially large number of victims (some
of whom were outside the Orange County D.A.’s jurisdiction), the
loss amounts, and the fact they believed LAYFIELD had absconded
to Costa Rica. Among other things, the investigator and Deputy
D.A. informed me that they had been in contact with victims'
counsel, as well as the State prosecutor handling disciplinary
proceedings against LAYFIELD.
lO. 'Shortly thereafter, I commenced the present

investigation, which was subsequently joined by IRS-Criminal

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Investigation (“IRS-CI”) and the Federal Bureau of Investigation

(\\FBI”) .

California State Bar Disciplinary Proceedings Against
Philip Layfield and L&B’s Shaky Financial Condition

11. As part of my investigation into this case, I
reviewed the California State Bar website for information about
LAYFIELD, as well as the following documents: (l) the “First
Amended Notice of Disciplinary Charges” (the “State Bar x
Charges”) filed against LAYFIELD by the State Bar on September
26, 2017, in CaSe nOS. 17-0-04140, l7-O-O4l98, and l7~O-O4754;
(2) LAYFIELD's “Response to First Amended Notice of Disciplinary
Charges” filed by or on LAYFIELD's behalf1 on October 31, 2017
(the “Layfield State Bar Response”);2 and (3) a spreadsheet
containing the names, personal identifying information, and
settlement amounts owed to former L&B clients, which was
provided to me by a State Bar investigator.3 Having reviewed the
State Bar's website and the above-identified documents, I
learned the following:

a. LAYFIELD was at all relevant times a duly

licensed member of the California State Bar, No. 204836. At

 

1 This document bears a signature line for “Philip J.
Layfield,” above which appears a handwritten signature that I
compared to the signature on LAYFIELD'S Nevada Driver’s License
and U.S. Passport. I believe the handwriting on each document
was made by one and the same person.

2 A true and correct copy of the Layfield State Bar
Response, obtained from the State Bar’s website, is attached
hereto as Exhibit “A” and fully incorporated herein by

reference.

3 I have also reviewed correspondence relating to the
spreadsheet from the State Bar.

 

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certain times unknown to me, LAYFIELD was also known as “Philip
S. Pesin,” apparently also a member of the California State Bar
using the same bar number.

b. LAYFIELD had an interest, if not a controlling
interest, in a law firm called Layfield & Wallace from at least
2013 to 2015, when he became a co-owner of a law firm called
Layfield & Barrett (“L&B”).

c. According to the State Bar Charges, LAYFIELD was
president and 90% owner of L&B from “in or about 2016” to “in or
about May 2017.”

d; Approximately 73 L&B clients, including J.N., had
submitted complaints to the California State Bar indicating that
they had not received their settlement funds from L&B. The
State Bar estimates that settlement amounts owed to the 73
former L&B clients total at least $8.6 million.

e. In documents filed with the California State Bar,
LAYFIELD made a number of representations about L&B’s financial
footing and his expectations for the firm in 2016. For
instance, LAYFIELD stated that he had projected “a large profit”
for L&B for calendar year 2016, notwithstanding substantial
expenses to the firm.4 LAYFIELD believed that L&B's projected
gross revenue for 2016 would be between $14 million and $18

million, with costs of approximately $10 million. LAYFIELD also

 

4 These expenses included a base salary of $300,000 per
year, a 10% equity position in L&B, and a car allowance of
$1,200 for attorney J B.; a base salary of $200,000 per year for
attorney S.W.; and a base salary of $120,000 per year for L&B
General Counsel T.W. (T.W.’s salary was later increased to
$200,000 once he assumed the role of Director of Litigation.)

6

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noted that L&B secured a line of credit in the amount of $4
million.

f. LAYFIELD's financial projections for 2016
apparently turned out to be wrong. LAYFIELD informed the
California State Bar that he believed that “[d]uring the first
half of 2016, productivity [at L&B] did not rise, but, rather
fell, as people were not meeting financial targets, [and] there
was a general lack of performance, all of which, collectively
caused the L&B Firm to lose money.”

g. LAYFIELD also noted in the Layfield State Bar
Response that, around June 2016, and at least in part due to
unrealized financial projections, LAYFIELD fired his Director of
Litigation and, “[d]uring the summer of 2016, [LAYFIELD]
aggressively began settling cases and ultimately settled several
large cases. . . . As of August 2016, L&B had generated
approximately $7 million of revenue, appeared to be profitable
through 8 months of the year and [L&B’s CEO] produced budgets
showing approximately $7 million of additional revenue by the
end of the year. Things began to look like they were
improving.”

The JhN. Personal Injury Case - Retainer Agreement

12. One of the large cases settled by LAYFIELD in 2016
was J.N.’s case, As noted above, J.N. was a personal injury
plaintiff represented by L&B. I first learned of J.N. during my
October 2017 meeting with the Orange County D.A. vDuring that
meeting, I was informed that J.N. had sued LAYFIELD, alleging

that LAYFIELD had misappropriated J.N.’s settlements funds.

 

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13. As part of my investigation into this case, I
reviewed one of J.N.’s legal filings in the matter of [J.N.] v.
Philip Layfield, et al., Orange County Superior Court case no.
30-2017-OO930393-CU-BC-CJC, filed by Michael Artinian, ESq.
(“Artinian”) on July 7, 2017. Having reviewed that filing, as
well as a memorandum in support of an Ex Parte Application for
Issuance of Right to Attach Order and Writ of Attachment and its
attachments, I learned the following:

a. As stated in a declaration signed under penalty
of perjury by J.N., “[on] February 24, 2016, [J.N.] was hit by a
vehicle while in a marked cross-walk, where [J.N.] sustained
substantial injuries requiring multiple back surgeries.”

b. Pursuant to a written retainer agreement signed
on or about March 15, 2016, J.N. retained L&B to represent J.N.
in what appears to be the same personal injury incident. The
retainer agreement specifically stated that J.N. retained L&B
“to pursue any meritorious legal actions which [J.N.] may have
for injury and loss resulting from the incident which occurred
on or about the 24th day of February, 2016.”

c. The retainer agreement provided, among other
things, that L&B would receive a fee of 33 1/3% of any gross
recovery, and that the fee to which L&B was entitled would
increase to 40% of any gross recovery after the “filing of a
lawsuit or formal initiation of legal proceedings,” less costs

and other expenses.

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J.Nl’s Statements Regarding the Retention of L&B

14. On February 20, 2018, I interviewed J.N., in the
presence of her attorney, Michael Artinian, who told me the
following:

a. J.N. was seriously injured in a motor vehicle
accident in late February 2016.

b. J.N. was 25 years old at the time of the accident
and was an unemployed student at Orange Coast Community College.

c. A friend, T.A., who worked at L&B, referred J.N.
to LAYFIELD to represent J.N. in connection with the accident.
Shortly thereafter, J.N. met LAYFIELD at his office in Irvine.
LAYFIELD told J.N. that he would represent J.N. and that J.N.
should expect to receive a substantial amount for J.N.’s
injuries. Also present during the meeting were two other
lawyers with L&B,`B.K. and T.H. J.N. understood that B.K. and
T.H. would work on the case but that LAYFIELD was responsible
for the case,

d. After the meeting, in or about March 2016, J.N.
signed the above-described retainer agreement in the presence of
an L&B representative.

LAYFIELD Settles JZNl’s Personal Injury Case

e. In August 2016, J.N. attended a mediation for
J.N.’s case, J.N. did not participate in the mediation itself
but, instead, sat outside of an office where LAYFIELD and a
representative for the driver who struck J.N. were meeting, L&B
attorneys B.K. and T.H. did not attend or participate in the

mediation. After about 30 minutes, LAYFIELD came out of the

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meeting with a document that described a proposed settlement of
S3.9 million. LAYFIELD was excited about the settlement
proposal and encouraged J.N. to accept it, which J.N. did.

f. Within a few days after the mediation, J.N. went
to LAYFIELD’s office and signed a settlement agreement that was
consistent with what LAYFIELD presented to her at the mediation,
namely, that J.N.’s case would settle for $3.9 million.

g. Neither LAYFIELD, B.K., T.H., nor anyone else at
L&B, told J.N. that L&B had filed a lawsuit on or about July 25,
2016, to recover for J.N.’s injuries. J.N. knew nothing about
the lawsuit until J.N. retained Artinian approximately 10 months
after the settlement of J.N.'s personal injury case.

JLNl’s Unsuccessful Efforts to Recover the Settlement Money

h. Between approximately August 2016 (when J.N.
signed the settlement agreement) and approximately February
2017, J.N. repeatedly contacted LAYFIELD both by phone and by e-
mail to determine when J.N. would receive money from the
settlement of J.N.’s case.5 LAYFIELD responded with a variety of
excuses, including that there were medical liens against the
settlement proceeds that needed to be resolved before LAYFIELD
could disburse the settlement funds to J.N.

i. In or about January or February 2017, J.N.
finally got LAYFIELD to meet with J.N. to explain the delay in

disbursing the settlement funds to J.N. The meeting was held in

 

5 Based on the retainer agreement, J.N.’s share of the
settlement proceeds likely exceeded $2.3 million, after
attorneys’ fees but before accounting for any liens or other

expenses.

lO

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LAYFIELD's office in Irvine and was attended by J.N., J.N.’s
mother, LAYFIELD, and L&B attorney B.K. During that meeting,
LAYFIELD told J.N. that “we will cut you a check” for $25,000 as
an advance against J.N.’s portion of the settlement proceeds,
but that there were delays caused by unresolved medical liens
that prevented full disbursement of the remaining settlement
funds due to J.N. Neither LAYFIELD nor anyone associated with
L&B mentioned at that time that there were any delays to
disbursing the full settlement proceeds to J.N. for any other
reason. LAYFIELD did not explain or provide any specifics about
medical liens and did not state the amount of any such liens.

j. Also around January or February 2017, LAYFIELD
told J.N. that J.N. should place her settlement money in a
trust. LAYFIELD told J.N. that, sometimes, family members might
try to take a person's settlement money, but J.N. did not
understand because J.N. had no such problems or concerns and
told LAYFIELD that. J.N. never told anyone associated with L&B
that J.N. had such concerns, but agreed to the trust upon
LAYFIELD’s advice. LAYFIELD told J.N. that the trust would be
prepared by attorney M,L.

The Mailing

k. In or about March 2017, J.N. received at her
residence, by mail, a check from L&B in the amount of $25,000,
along with a cover letter dated February 15, 2017 stating in
pertinent part that “[L&B] APC would like to thank you for
choosing our firm to represent your legal needs. Enclosed

please find a check in amount /sic/ of $25,000. This is an

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advance on your settlement.” J.N. assumed that the check
represented the advance that LAYFIELD had mentioned during the
meeting in January or February 2017, Based upon the totality of
the evidence described in this affidavit, including that
LAYFIELD was J.N.'s primary point of contact at L&B,‘LAYFIELD
was 90% owner of L&B, and that LAYFIELD told J.N. that “we will
cut you a check,” I have probable cause to believe that LAYFIELD
caused the mailing of this check in furtherance of his scheme to
defraud J.N. out of J N.’s full settlement proceeds of
approximately $2,340,000.

l. After the meeting in LAYFIELD's office in or
about January or February 2017, J.N. contacted Medi-Cal and
other health care providers to determine whether there were, in
fact, any outstanding medical liens against her settlement
money, J.N. learned that, at most, if at all, there were
approximately $300,000 in charges incurred for J.N.’s medical
treatment following J.N.'s accident. At that time, J.N. could
not determine whether any of those charges were the subject of a
lien against J.N.’s settlement.

m. Between about March 2017, when J.N. received the
$25,000 check from L&B, and June 2017, when J.N. retained a new
lawyer, J.N. continued to attempt to contact LAYFIELD and L&B to
find out why J.N. had not received the balance of J.N.'s
settlement. LAYFIELD again stated, over the phone, and in
email, that J.N.’s settlement payment was delayed due to the
need to resolve medical liens. During that same period, D.K.,

whom J.N. understood worked for L&B at L&B’s Utah office, told

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J.N. that the settlement payment was “held up” by unresolved
medical liens.

n. In or about June 2017, J.N. hired Artinian to
pursue recovery of J.N.’s settlement money. J.N. had no direct
contact with LAYFIELD after about June 2017.6

15. On February 20, 2018, during my interview of J.N.,
J.N.’s lawyer told me that he identified the Medi-Cal charges
that were incurred on behalf of J.N. in connection with the
accident. The lawyer, Artinian, told me that J.N.'s Medi-Cal
charges totaled approximately $300,000, or less than 10% of the
$3.9 million gross settlement paid in J.N.'s case, and that
those charges had been satisfied by Medi-Cal.

16. During the same interview, Artinian told me that he
has practiced personal injury law and is familiar with
mediations. He stated that, in his view, the J.N. personal
injury matter settled very quickly with no need, either legally
(such as to toll the statute of limitations) or strategically,
to file a lawsuit. He believed that the only reason LAYFIELD
filed the lawsuit was to increase LAYFIELD’s fee from 33 1/3% to
40% because, among other things, the lawsuit was filed
approximately two weeks before the mediation and the case
settled for a large amount as the result of a very short and

single mediation session.

 

6 Based on my search of federal travel databases, I believe
LAYFIELD left the United States for Costa Rica in or about June
2017, LAYFIELD returned to the U.S. from Costa Rica in October
2017. He was here for two days before returning to Costa Rica.
LAYFIELD again re-entered the United States on February 19, 2018
and is scheduled to depart on February 24, 2018, from Newark '
airport in New Jersey.

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17. During my meeting with J.N. and Artinian, J.N.
mentioned that J.N. had exchanged emails with LAYFIELD and his
office, as described above. I obtained copies of those emails
that had been marked by the California State Bar as exhibits for
LAYFIELD’s State Bar trial, and noted the following:

` a. On January 17, 2017, J.N. emailed L&B attorney
B.K., with a “cc” to “accounting@layfieldbarrett.com,” stating
that tI would like an update on the case, as I have been told
that disbursement would have been done by the end of last year.
Please send me the current itemization of costs and
disbursements timeline.”

b. On January 18, 2017, LAYFIELD responded by
stating that “[w]e have a medicare issue that we are still
working on and expect it to be resolved shortly.” LAYFIELD
suggested that they meet.

c. On February 2, 2017, LAYFIELD emailed J.N.,
statingy “I am waiting on a call back from Cal-Optima and still
waiting on a couple of final numbers for the expenses. I am
hoping to have it in a few hours.”

d. On February 3, 2017, LAYFIELD emailed J.N.,
“Please see the attached cost break-down. As you can see, we
are still waiting on a few items to finalize. I will keep you

informed.”7

 

7 As of the date of this affidavit, I have not yet obtained
the “cost break-down” mentioned in LAYFIELD’s email, However,
based upon the totality of evidence obtained to date, I have
probable cause to believe that the total costs and expenses
related to J.N.’s case was well below, if not nearly $ 2 million
below, the net amount due J.N. from her settlement.

14

 

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e. On May 19, 2017, D.K., an L&B employee, emailed
J.N. with an itemization of the “Total Billings/Liens” for
J.N.’s case, in the amount of $227,551.68, of which $199,828.68
was noted as having been “reduced by Layfield & Barrett APC from
$266,438.23,” and was owed to the “Department of Health Care
Services.8 I know from reviewing J.N.'s Medi-Cal records that
J.N. provided to the California State Bar, and from my training
and experience, that the Department of Health Services (“Cal
DHS”) is an agency of the State of California that collects
outstanding balances due for Medi-Cal services. I also know,
from having reviewed a January 18, 2017 statement issued by Cal
DHS, that J.N. was a Medi-Cal recipient and that, as of that
date, Cal DHS sought reimbursement for charges for J.N.’s
February 24, 2016, injury in the amount of $266,438.23, the same
pre-discount figure described in the above-referenced email from
L&B. I further know from reviewing a Cal DHS statement issued
to J.N. and dated November 21, 2017, or several months after L&B
and LAYFIELD had stated that J.N.’s lien-free settlement
proceeds were soon to be paid to J.N., that Cal DHS was still
owed and had a lien for $266,438.23.

f. On May 18, 2017, T.W., L&B’s general counsel and
director of litigation emailed another L&B employee, T.A., who
had been trying to find out why J.N.’s settlement proceeds had
not been paid to J.N. T.W. wrote: “[T.A.]-I don't really know

anything about this closeout, other than that Phil [LAYFIELD] is

 

8 See note 5, above,

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very hands-on with this one. He’s probably the only person who
can speak to where this stands and what the plan is.”

g. On June 8, 2017, “Philip Layfield” emailed T.A.
and stated that “fJ.N.’s] case is just about wrapped up. I need
to check with her trust lawyer on a few final items, check on
her corporate trustee and make sure her insurance is in place.
This should all be wrapped up by the end of the month.”

h. On June 14, 2017, M.L., the trust lawyer, emailed
J.N., stating “Was just wondering if you have heard from Phil
recently. Despite several attempts, I havenlt heard anything
back from him since early May.” J.N. responded that evening via
email to M.L., stating “I am concerned about Phil's absence and
lack of communication. .” M.L. responded to J.N. that
evening, stating, “I just heard from Phil tonight. He's on
vacation until next week. We’re going to talk when he gets
back.”

LAYFIELD's Response to Artinian’s Demand on Behalf of J.Nl

18. During the same interview on February 20, 2018,
Artinian told me that, on June 29, 2017, at 8:48 a.m. (PDT),
Artinian emailed LAYFIELD as well as others associated with L&B,
including T.W. and J.B., whom Artinian understood were

LAYFIELD’s partners, to demand payment of J.N.’s settlement

proceeds.

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19, Artinian gave`me a copy of an email dated June 29,
2017 at 7:37 a.m.9 that he told me he received in response to his
email to LAYFIELD, described above. The email was addressed
from “info@layfieldbarrett.com” to Artinian, with a “cc” to
J.B., whom I believe was LAYFIELD’s partner at L&B, and “T.W.,”
whom I believe was L&B’s “director of litigation.” Based on my
understanding, explained elsewhere in this affidavit, that
LAYFIELD had by that time relocated to Costa Rica, and the
context of this email, I have probable cause to believe that
LAYFIELD wrote this email, 1
20. ln the responsive email, LAYFIELD stated the
following, among other thingsi
a. “L&B does not consent to the use of email
communications. Please direct all communications to our mailing
address.”10
b. “Our firm spent substantial time and resources
with [J.N.] to make sure that [J.N.'s] money was not attacked by
[JZNL’s] family members Who were all trying to take [J.Nl's]

money.” (Italics added.) As stated above, at no time did J.N.

 

9 I believe the response time for this email is also PDT
and is consistent with having been sent from an easterly time
zone. The time zone for Costa Rica is Central Standard Time, or
two hours ahead of PDT (Pacific Daylight Time).

w Based on another email that Artinian received on June
27, 2017 from the same email address, the sender stated that
“Please be advised that Layfield & Barrett does not accept email
communications on any business matters at this time. If you
have any questions or correspondence, please send to our mailing
address of: L&B, APC 382 NE 191st St. #42308 Miami, Florida
33179-3899. I determined from a Google search that the
foregoing address is for a “virtual office,” a Google~based
photo of which shows that address housed in a small light
industrial complex.

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either believe that J.N.'s family members were trying to take.
J.N.’s settlement money, nor did J.N. ever communicate that to
either LAYFIELD or anyone associated with LAYFIELD's firm.

c. “We anticipated all trust issues and investment
issue choices to be resolved within the next two weeks and that.
[J.N.’s] trust could be funded with [J.N.’s] proceeds. That is
the plan and I still believe that should be the plan .”
As stated above, neither Artinian nor J.N. received anything
from LAYFIELD or anyone with whom he was associated regarding a
“trust” or “investment issue choices” after the date of this
email.

d. “I would appreciate it if everyone would stop
with the aggressive and unnecessary behavior. We obtained an
absolute home run for this client and are just about complete
with all issues.”11

21. During my interview of Artinian and J.N. on February
20, 2018, each told me that neither LAYFIELD nor anyone
associated with LAYFIELD or his firm mentioned anything about a

“trust” or “investment issue choices” after LAYFIELD's June 27

email, described above.

 

n The same email chain contains what appears to be a
response to Artinian's demand by T.W., whom LAYFIELD identified
in several documents that I have reviewed as L&B’s “director of
litigation.” In his response, T.W. stated that he had had no
involvement in J.N.’s case, that he had quit working for L&B
approximately four months prior (approximately February-March
2017), and that LAYFIELD had told him that LAYFIELD had been in
contact with J.N. `

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The Trust

22. On February 21, 2018, I spoke by telephone with M.L.,
an attorney whose California Bar license l confirmed via the
California State Bar website, M.L. told me the following:

a. M.L. and LAYFIELD were neighbors in the Orange
County enclave of Coto de Caza during 2014 and until about the
spring of 2017, when LAYFIELD left the neighborhood.

b. M.L.’s and LAYFIELD's families socialized a
couple of times, including attending a Duck’s hockey game where
they sat in LAYFIELD’s private suite.

c. In or around January 2017, LAYFIELD asked M.L. to
set up a trust for a LAYFIELD client whom M.L., upon my mention,
recalled as J.N. LAYFIELD told M.L. that it was a “simple case”
iand that J.N. was going to receive a settlement of $2.3
million.12 LAYFIELD said nothing about whether the amount of the
settlement was contingent on or subject to offsets by the
resolution of any medical or other liens. LAYFIELD made it
clear to M.L. that LAYFIELD's firm would pay M.L. to prepare the
trust. M.L. recalled that his fee for preparing a trust

generally was approximately $4,000-$5,000.

 

n As described elsewhere in this affidavit, the gross
settlement for J.N.’s personal injury matter was $3.9 million,
of which J.N. was to receive 60%, or $2,340,000, pursuant to
J.N.’s retainer agreement with L&B. As also described elsewhere
in this affidavit, LAYFIELD gave J.N. an “advance” of $25,000
against the settlement, as shown by the check to J.N. dated
March 9, 2017, Thus, the net proceeds due J.N., less the
$25,000 “advance,” were approximately $2,315,000, or,
essentially, the amount that LAYFIELD told M.L. to account for
in the trust.

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d. About two weeks after talking to LAYFIELD about
the trust for J.N., M.L. hosted a meeting at his office.
LAYFIELD and J.N. attended the meeting, M.L. does not recall
any mention during that meeting about whether J.N.’s family
members might take any of the settlement money or whether the
amount of the settlement was contingent on or to be offset by
the resolution of any medical or other liens.

e. M.L. prepared the trust about a month after the
meeting with LAYFIELD and J.N. and emailed the trust documents
to LAYFIELD and J.N. LAYFIELD emailed M.L., stating that
LAYFIELD would review the documents and get back to M.L.

f. LAYFlELD never got back to M.L. M.L. has not
heard from LAYFIELD since LAYFIELD emailed M.L. saying he
(LAYFIELD) would review the documents and get back to M.L.

g. LAYFIELD never paid M.L. for preparing the trust.

23. Based upon M.L.'s statements and the totality of the
evidence leading up to the meeting at M.L.’s office as described
above, l have probable cause to believe that, as of March 9,
2017, the date of the so-called “advance” check: (a) M.L. had
already prepared the trust based upon LAYFIELD's instructions;
(b) there were no offsets or contingencies for medical or other
liens, as LAYFIELD had instructed M.L. to entrust the entire
$2.3 million to J.N.; and (c) there were no other impediments to
disbursing that amount to J.N., in trust or otherwise, other
than that LAYFIELD chose not to do so for reasons having nothing

to do with J.N.

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Tracing and Diversion of JZNZ’s Settlement Proceeds

24. In the Layfield State Bar Response, LAYFIELD stated
that one of the “large” cases he settled was “for $3.9 million
in August 2016.” LAYFIELD stated that he was responsible for
settling the “large” case; he did not mention whether anyone
else associated with L&B was responsible for settling this case.

25. Although LAYFIELD did not specifically identify the
$3.9 million settlement as relating to J.N.'s personal injury
case in his Response, that $3.9 million appeared, in fact, to be
the settlement of J.N.’s matter, based upon at least the
following evidence:

a. The Layfield State Bar Response did not dispute
the State Bar's allegation that J.N. was entitled to receive
approximately $2,315,000.

b. J.N.’s retainer agreement with L&B, described
above, contains a formula that permitted a 40% payment to L&B
after the filing of a lawsuit.

c. I reviewed a civil complaint, no. 30-2016-
00865617-CU-PA-CJC, which was electronically filed in Orange
County Superior Court on July 25, 2016, that alleged that J.N.
sustained personal injuries when she was struck by a motor
vehicle while crossing a street on February 24, 2016. The
complaint contains LAYFIELD’s typewritten name as the filing
attorney, I compared the signature next to LAYFIELD’s
typewritten name with LAYFIELD’s California Driver’s License and

U.S. Passport, and believe they were signed by one and the same

person.

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d. In connection with his efforts to recover J.N.'s
portion of her personal injury settlement, Artinian obtained,
and l reviewed, copies of two checks issued by Kemper/Trinity
Universal Insurance Company, each jointly payable to J.N. and
L&B, that totaled $3.9 million, as follows: one for $500,000,
issued August 25, 2016, for a “loss date: 2/24/2016;” and one
for $3.4 million, issued August 25, 2016, for a “loss date:
2/24/2016.”

` e. Sixty percent of $3.9 million is $2,340,000. As
described below, J.N. later received a check from L&B for
$25,000; J.N.'s net proceeds due from the settlement, less that
$25,000 credit, is $2,315,000, as alleged in the State Bar
Charges and, again, as apparently undisputed in the Layfield
State Bar Response.

26. In the Layfield State Bar Response, LAYFIELD stated
that he “was the primary signatory on the Esquire Bank IOLTA
account.”13 Elsewhere in the Layfield State Bar Response,
LAYFIELD stated that he “was the sole signatory” on this same
“trust account.”

27. I reviewed L&B bank records obtained from Esquire
Bank, account number ending in -2012, entitled the IOLTA Trust
Account (“IOLTA Account”). Having reviewed those records, the
State Bar Charges, and the Layfield State Bar Response, I
believe this IOLTA Account served as L&B’s attorney-client trust

account, into which settlement payments were transferred by

 

3 “IOLTA” appears to stand for “Interest on Lawyer Trust
Account,” but the account, as more fully described herein,
contained activity for more than just interest,

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opposing parties or insurers acting on their behalf.
Disbursements would then be made from this IOLTA Account to L&B
clients.

28. I also know from speaking to California State Bar
Prosecutor Eli Morgenstern that California-licensed attorneys
have ethical obligations regarding the management of client
funds.

29. l know from my review of the California Rules of
Professional Conduct, that it is a violation of California State
Bar rules for attorneys to “commingle” funds in their attorney-
client trust accounts. Specifically, Rule 4-100, entitled
“Preserving Identity of Funds and Property of a Client,”.
requires that:

a. “In the case of funds belonging in part to a
client and in part presently or potentially to the member or the
law firm, the portion belonging to the member or law firm must
be withdrawn at the earliest reasonable time after the member’s
interest in that portion becomes fixed.” Rule 4-100(A)(2).

b. “A member shall . . . [p]romptly notify a client
of the receipt of the client's funds, securities, or other
properties.” Rule 4-100(B)(1).

30. In connection with this investigation, Special Agent
Sam Chan of IRS-CI and I reviewed bank records for what appeared
to be an operating account for L&B at Esquire Bank (account
number ending in -2004), over which LAYFIELD had signatory
authority at the relevant time (the “-2004 Operating Account”).

Special Agent Chan and I also reviewed records for a personal

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account in the name of Philip J. Layfield at USAA Bank (account
number ending in -1924) (the “Layfield Personal USAA Account”).14

31. Special Agent Chan analyzed the account activity for
the IOLTA Account, the -2004 Operating Account, and the Layfield
Personal Account in order to trace the deposit of J.N.'s $3.9
million settlement and attempt to determine the use of those
proceeds. Based upon my discussions with Agent Chan and my
review of records for those three accounts, I noted the
following activity:

a. -J.N.’s settlement from Kemper/Trinity Insurance
was paid in two checks deposited into the IOLTA Account, one for
$500,000, deposited on August 26, 2016, and the other for
$3,400,000, deposited on August 29, 2016. These deposit records
are consistent with and reflect the deposit of the two
Kemper/Trinity Insurance checks comprising the $3.9 million
gross settlement proceeds for J.N.’s personal injury case,

b. The running balance in LAYFIELD's IOLTA account
just before the deposit of the first of the two J.N. settlement
checks was approximately $122,615.

c. At the same time that J.N. was unsuccessfully
attempting to get LAYFIELD to respond to J.N.’s inquiries about
the settlement money (between approximately August 29, 2016 and
December 12, 2016), at least approximately $685,000 was

transferred first from the IOLTA account to the 2004 Operating

 

M We obtained these bank records in late January and early
February 2018,

24

 

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Account,

and then wire-transferred from the 2004 Operating

Account to Layfield's Personal USAA Account, as follows:lE

32.

August 30,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Amount Wired from -2004 Operating Account
to Layfie|d Persona| USAA Account

08/30/2016 $20,000.00 _

08/31/2016 $50,000.00

09/01/2016 $50,000.00

09/02/2016 $50,000.00

09/06/2016 $50,000.00

09/07/2016 $50,000.00

09/12/2016 $40,000.00

09/16/2016 $50,000.00

09/26/2016 $45,000.00

10/03/2016 $50,000.00

10/07/2016 $50,000.00

10/11/2016 $25,000.00

10/19/2016 $25,000.00

10/24/2016 $20,000.00

10/27/2016 $30,000.00

10/31/2016 $25,000.00

12/06/2016 $25,000.00

12/12/2016 $30,000.00

TOTAL $685,000.00

Additionally, SA Chan has informed me that between

2016 and February 28,

2017, there were a number of

wire transfers from the IOLTA Account directly to Layfield's

Personal USAA Account, as follows:

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the same time.

There were other deposits into each of these accounts at

25

 

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Date Wire from |OLTA to USAA (Acct# 1924)
10/26/2016 $15,000.00
10/31/2016 $35,000.00
12/15/2016 $15,000.00
12/16/2016 $25,000.00
12/30/2016 $60,000.00
01/09/2017 $40,000.00
01/12/2017 $20,000.00
02/16/2017 $7,500.00
02/24/2017 $50,000.00
02/28/2017 $50,000.00
TOTAL $317,500.00

 

 

 

LAYFIELD’s Failure to Appear at His State Bar Trial

33. On February 21, 2018, I reviewed the California State
Bar website for LAYFIELD’s bar license status and learned that,
on January 24, 2018, LAYFIELD failed to appear for his trial to
respond to the State Bar Charges, I noted in the publicly
available State Bar documents that the State Bar Charges were
served on LAYFIELD at the same address that LAYFIELD identified
in the Layfield State Bar Response, namely, the virtual address
in Miami, Florida, described above.

34. As a result of his failure to appear, LAYFIELD's
license to practice law in California has been suspended. (I
understand that LAYFIELD has 55 days to seek relief from
default.)

35. On February 22, 2018, FBI Special Agent Ryan Heaton
told me that on that same day he contacted Eli Morgenstern, the
California State Bar prosecutor assigned to the LAYFIELD matter.
Special Agent Heaton told me that Morgenstern stated that he had

not received any information that LAYFIELD had attempted to set-

26

 

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h

aside the default. Morgenstern further told Special Agent
Heaton that he (Morgenstern) had not heard from LAYFIELD since
November 2017. Morgenstern also told SA Heaton that during one
of only two telephone calls with LAYFIELD, on either August 19,
2017 or on or about September 22, 2017, Morgenstern asked
LAYFIELD where LAYFIELD was at the time of the call. LAYFIELD
told Morgenstern that he did not have to tell Morgenstern where
LAYFIELD was and that LAYFIELD liked that Morgenstern did not
know where LAYFIELD was.

L&B/LAYFIELD Client Complaints to the State Bar

36. During this investigation, l received from
Morgenstern data showing complaints made by approximately 73
clients against LAYFIELD and L&B seeking approximately
$8,696,367.44 in settlements due to the clients for
approximately the same time-period that encompassed LAYFIELD’s
dealings with J.N.

LAYFIELD's Explanation for Non-Payment of Settlements

37. Law enforcement officers involved in this
investigation have not interviewed LAYFIELD. However, LAYFIELD
in two publicly filed documents, provided his view of the non-
payment of settlements to clients. I believe that the
explanations in those documents are self-serving and not only
conflict with each other but are not supported by the totality
of the circumstances, namely, that LAYFIELD personally
benefitted from J.N.’s settlement proceeds via wire transfers
and kept such usage from J.N. by personally, and without the

involvement of others associated with L&B, concealing his

v27

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activity through lulling misrepresentations and fraudulent
inducements, including causing the mailing of the so-called
“advance” check of $25}000 to J.N., as more fully described
above.

38. The first such document is the Layfield State Bar
Response (attached hereto as Exhibit “A”) in which LAYFIELD made
the following claims, among others, none of which address or
explain LAYFIELD's direct dealings with J.N.:

a. “[LAYFIELD] was a model member of the California
State Bar [for over 18 years]. This all changed when [LAYFIELD]
attempted to grow his law firm into a large national plaintiff
firm. In.order to grow, [LAYFIELD] was forced to rely on the
reasonable conduct of other professionals, both inside and
outside the law firm.”

b. The State Bar charges “are solely the result of
the failure of L&B’s finance department and others set forth [in
the Layfield State Bar Response].”

c. Although LAYFIELD was the “sole signatory on the
[IOLTA Account],” he had “granted access, passwords and the
ability to transfer monies from that account to many members of
the L&B finance team.”

d. The firm’s general counsel and “Director of
Litigation” “oversaw all settlements.”

e.‘ “[LAYFIELD] reasonably relied on the conduct of
others in the operation of the business.”

fy As to the specific State Bar charges, including

charges relating to the J.N. settlement (Counts Nine and Ten),

28

 

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LAYFIELD explained that he delegated to accounting professionals
the job of running his “300-plus person organization” and “took
immediate steps to remedy the situation.” He further claimed
that the appointment of a Chapter 11 Trustee deprived him of the
ability to determine how or whether client funds were
maintained. LAYFIELD also stated that, “[i]f any funds were
incorrectly transferred from any of the firm’s trust accounts to
the firm’s operating accounts, it was done under a good faith
belief that monies were available to do so.” LAYFIELD did not
specifically address J.N.'s settlement funds, the purported
trust, why the trust was sought at all, the $25,000 advance paid
to J.N., or how or why LAYFIELD received wire transfers that
appear to have flowed from the receipt of J.N.'s $3.9 million
settlement proceeds paid to L&B.le

g. LAYFIELD did, however, state in his attachment to
the Layfield State Bar Response, that “[t]he system for
disbursing funds [out of the IOLTA Account and other client
trust accounts] was [that LAYFIELD] would rely on up to date
accounting/collections reports generated by [his ‘Finance team{]

.” Thus, LAYFIELD by his own admission directed the

disbursements.

The L&B Bankruptcy Case

39. The second document in which LAYFIELD explained his

view that others caused the demise of his firm was his

 

16 The state Bar charges alee allege that LAYFIELD
committed similar violations as to five other L&B clients whose
settlement proceeds exceed $1 million and who have not been
paid.

29

 

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declaration filed on August 8, 2017 in connection with his
opposition to a petition for involuntary bankruptcy (discussed
below) that was filed by a law firm and former L&B clients,
~entitled In re Layfield & Barrett, APC, Debtor, U.S. Bankr.
Court, CDCA, no. 17-19548-NB.17 In that declaration, bearing
what I believe to be LAYFIELD’s signature (based upon
comparisons to the same exemplars and questioned documents
described elsewhere in this affidavit), and signed in
“Tamarindo, Costa Rica,” LAYFIELD stated, among other things,
that:

a. L&B has assets in the millions of dollars;

b. LAYFIELD is “actively working to resolve” dozens
of other cases and the value of the cases “exceeds $50 million,”
with “estimated legal revenues from these cases exceed[ing] $6

million.”

c. LAYFIELD “is more than capable of handling these
matters . . . .”

d. LAYFIELD decided in 2016 and early 2017 to
“commence the winding down of L&B” and to expand to a national
firm that focused on larger cases. LAYFIELD intended to
“ultimately remove [him]self from the day to day handling of
cases as a trial lawyer, and to manage the marketing side of a

national law practice from Costa Rica . . . .” “I have not fled

 

H A true and correct copy of this document, without the
accompanying exhibits, is attached hereto as Exhibit “B,” and is
incorporated herein by reference. I obtained a copy of this
document from PACER.

30

 

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the country.”18 “I maintain a 2d residence in California in the
same neighborhood for several years.” Other L&B staff were
relocated to Costa Rica “in order to set up the office” of L&B’s
successor.

e. “L&B has hundreds of cases and dozens of
settlements that require detailed accounting of costs, fees and
client distributions. L&B suffered massive turnover in its
finance department and the departure of our controller in March
2017. I have recently been able to hire two Certified Public
Accountants to take over the administration of our [attorney-
client trust] accounting. I will be supervising those
accountants.”

40. I reviewed a document entitled “Petitioning
Creditors' Emergency Motion for Appointment of An Interim
Trustee,” filed in the above-referenced bankruptcy case and to
which LAYFIELD filed his opposition, described above, and
learned the following:

4a. Four creditors of L&B, a law firm and three
individuals, filed the petition to “protect and preserve
property of [L&B] and to prevent concealment, waste, loss or
conversion of the assets of [L&B] by [LAYFIELD], who continues

to control [the IOLTA Account].”

 

m I know from my search of import/export data maintained by
the federal government that LAYFIELD exported two vehicles from
the United States to Costa Rica in May and August, 2017.
Additionally, I have reviewed a list of properties owned by
LAYFIELD which was compiled by SA Sam Chan from commercial
databases. That list reflects that LAYFIELD sold residential
properties in January, April, August, and September 2017.

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b. The creditors alleged that there were
approximately 140 active or pre-litigation cases at L&B as of
June 2017 when L&B collapsed, and L&B failed to notify clients
of its collapse and “failed to inform clients regarding funds it
received from settlement of cases.”

c. According to declarations signed by LAYFIELD’s
former partner and CEO, L&B had a case management system that
“tracked, among other things, client costs and accounting
information needed to discharge the attorney's legal and ethical
duties upon receipt of gross settlement proceeds on client
matters.” However, neither LAYFIELD, his former partner, or
L&B's CEO provided access to that information.

d. In one instance, a former client (and one of the
petitioning creditors), M.L. (not attorney M.L., referred to
above), received a letter and settlement statement from L&B in
March 2016, indicating that M.L.’s case had settled{ all liens
had been satisfied, and that he was entitled to $287,054.29.
The cover letter stated that a check in that amount was
enclosed, but no check was enclosed.

e. From my further review of the docket in the L&B
bankruptcy case, l learned that on August 11, 2017, the above-
referenced motion was denied. On the same day, the case was
converted to one under Chapter 11 of the Bankruptcy Code. On
August 16, 2017 the parties stipulated to the appointment of a
Chapter 11 trustee. In a “Status Report” filed on behalf of
debtor L&B on September 5, 2017, L&B reported that it “had

approximately $1,000 in its bank accounts on the date of the

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filing [of the bankruptcy case.” Finally, on October lO, 2017,
debtor L&B's lawyer moved to withdraw (Dkt. 107), stating in a
sworn declaration that “since the appointment of the Chapter 11
Trustee, the Debtor’s principal Philip Layfield has resigned.
As such, I have no client to sign documents such as the
[required bankruptcy] schedules . . . . l prepared the
documents but cannot file them without signatures. Further, we
have not received any payment for services rendered .”
V . CONCLUS ION

41. For all the reasons described above, I believe there
is probable cause to believe that PHILIP JAMES LAYFIELD, also
known as Philip Samuel Pesin, knowingly and with intent to
defraud, devised, participated in, and executed a scheme to
defraud J.N. as to material matters to obtain money and property
from J.N. by means of false and fraudulent pretenses,

representations, and promises, and for the purpose of executing

and attempting to execute this scheme to defraud, caused a

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mailing to be placed in an authorized depository for mail matter
to be sent and delivered by the United States Postal Service or
a private or commercial interstate carrier, in violation of 18

U.S.C. § 1341.

/§/

 

Mark E. Speidel, Special Agent
Department of Homeland
Security

Subscribed to and sworn before me
this 23rd day of February, 2018.

STEVE K!M

 

HONORABLE STEVE KIM
UNITED STATES MAGISTRATE JUDGE

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EXHIBIT “A” (Layfield Stat‘e Bar Response)

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51 sTATE BAR coURT
‘7 HEAR]NG DEPARTMENT-Los ANGELES
8
1N THE MATTER oF: )
9 , ) ease No 17 0 04140, 17 0- 04198 17_0-
PHILH> JAMES LAYFIELD, 04754
10 _
NO' 294836 REsPoNsE To FI:RST AMENDEi)
1_1 § NoTICE oF DISClPLll\rARY
12 A MEMBER oF THE sTA'rE BAR ) CHARGES
13 l
14

15 COMES NOW, Respondent, Philip James Layfield (hereinafter “Respondent”), on his own
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.17_.
18

1 9
20 that as a direct or proximate result of any acts or omissions on the part of Respondent, any

behalf, who Responds to the First Amended Notice of Disciplinary Charges, As a general
matter, Respondent generally denies each and every allegation included 1n the First

Arnended Notice of Disciplinary Charges (“ANDC”). Respondent linther expressly denies

 

21 ethical Violations have occurred

22
23 1
GENERAL BACKGROUND
24
25 Respondent has no record of discipline in over 18 years ofpractice. By all

26 accounts, Respondent was a model member of the California State Bar. lhis all changed _

27 When Respondent attempted to grow his law firm into a large national plaintiff linn 111

28 RESPONSE TO FIRST AMENDED NO'I`ICE OF DISCIPL]NARY CHARGES
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l order to grow, Respondent was forced to rely on the reasonable conduct of other

2 professionals, both inside and outside the law firm. Unfortunately, most of those Who

3 Respondent relied upon either failed in their specific duties and/or betrayed Respondent.

: Rather than conduct a full and complete investigationinto the allegations the _State Bar

6 Investigators and Prosecutor chose to grandstand and prematurely bring charges. Had the

7 State Bar acted appropriately in the investigation of these matters, they Would have

8 discovered that others were truly responsible for the misconduct alleged and that

9 Respondent was doing everything that would and should be expected of an attorney under
10 the circumstances The reality is that all of the acts alleged in the twelve specific Counts
:; of the ANDC stern from the failure of a law firm which operated as a large and complex
13 business known as Laytield & Barrett, APC (L&B) over a period from January 2017 to _
14 June 2017. L&B had a finance department that consisted of approximately 21
15 professionals under the supervision of the CFO, Jeft`rey Pannebal<er and the iirms’ General
16 Counsel Todd Wake)‘ield. The acts complained of in the ANDC are soley the result of the '
17 failure of L&B’s finance department and others as set forth below,
:: From the period of June 2017 to the present, there have been many self-serving
20 accounts ofwhat led to the demise of L&B and What ultimately led to the current
21 allegations against Respondent. Although none of the accounts that have been publicized
22 or put in Declarations are accurate, one of the most_;agpprate accounts of What truly
23 happened to L&B is titled “LAYFIELD & BARRETT AND run TRANslnoN,” and is
24 attached hereto as Exhibit 1. Respondent acknowledges that this account is incomplete
:: and fails to address each and every issue that arose at L&B during the time period of 2016_
27 and 2017, but it is the most up-to-date and accurate representation that has been circulated
28 to data REsPoNSE TO FIRST AMENDED N;)TICE OF DIsCrPLlNARY CHARGES

 

 

 

 

 

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1 A. LAYFIELD & BARRETT WAS PROFITABLE THROUGH AUGUST 2016

2 Up and through August 2016, Respondent was led to believe that L&B was profitable
3 and poised for substantial growth Respondent was provided with financial statements in
: the Fall of2016 that showed the linn generating a profit of approximately $2 million from
6 January 2016 through August 2016. Respondent was provided projections by the Jlinance
7 department and the General Counsel and Director of litigation in the Fall of 2016 showing
3 full year 2016 profitability of $5 to $7 million. Although Respondent was the sole
9 signatory on the Esquire Bank Trust Account, Respondent had granted access, passwords
10 and the ability to transfer monies from that account to many members of the L&B finance
:; team. ln fact, Respondent hadn’t made one deposit into that account since sometime
13 around 2014._ Since 2014, those duties were delegated to.others in the iirm under the

14 direction of the iinn’s General Counsel and Director of Litigation who oversaw all

15 settlements Respondent is aware of approximately 4 other .Trust accounts at various other
16 banking institutions and in other jurisdictions where Respon`dent had no access

17 B. DURING THE PERIOD OF SEPTEMBER 2016 THROUGH MARCH 2017,

l 8
RESPONDENT REASONABLY RELIED ON THE CONDUCT OF OTHER

 

 

19
20 QUALIF[ED PR()FES SIONALS
21 L&B was a large and complex organization with hundreds of people working on its

22 cases, finances, marketing, recruiting, and operations Respondent reasonably relied on

23 the conduct of others inthe operation of the business It would be unreasonable for
24

25
26
27

Respondent to oversee the details of such a large operation

28 RESPONSB TO FIRST AM_ENDED NO'I`ICE OF DISCIPLINARY CHARGES
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1 C. UPON DISCOVERING THAT OTHER PROFESSIONALS FAILED lN THEIR

 

 

 

 

 

 

2 BASIC DUTIES, RESPONDENT TOOK REASONABLE STEPS TO MITIGATE
» 3 ANY DAMAGES AND cURE ANY cLIENT lssUEs
k : :" llpon learning of the misconduct of others at L&B, Respondent took reasonable steps
1 '6 _‘ t:c`):"obtain‘proper accounting, keep operations funded and devise a plan to allow the
` 7 ` business to continue despite being attacked by many external forces. Not only did
ii 8 4 Respondent contribute in excess of $500,000 of his personal,funds to L&B, Respondent
9 actively worked to resolve any and all issues until Respondent was prevented from acting '
~ _ 1(_) on behalf of L&B by the 'Ch. 1 l Trustee. l
__ :; .- _ '_D. `:ll\/lMEDlA_"_l"ELY AFTER RESPONDENT’S PLANNED RETl.REMENT FROM
113 ~ , THE PRA_CTICE OF LAW. BARRETT, WAKEFIELD AND OTHERS
14 DEVISED A SCHEME TO STEAL MILI.IONS OF DOLLARS FROM
15 RESPONDENT, L&B AND FORMER L&B CL[ENTS

16 Forrner Partner of L&B, Joseph Barrett (“Barrett”) and former General Counsel, Todd
17 ` `

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19

`20
21 with the reorganization Respondent insisted that substantial referral fees be paid back to

‘ Wakefleld (“Wakefield”) agreed to reorganize L&B into a new entity called Maximum
Legal, LLC (“ML'”) and agreed to purchase 45% of the new firm from Respondent for $8

million. Respondent provided the Hnancing for the $8 million purchase In connection

22 L&B in order to satisfy all L&B creditors and clients in order to allow L&B to wind down
23 operations by the end of 2017. Rather than honor the Agreements with Respondent,

. 24
25
26
27

Barrett and Wakefield formed a different entity called Maximum Legal (California) L_LP
(“MLCA”) and began to divert clients and funds away from _ML to MLCA. Wakefield and
Barrett sought the advice of Bankruptcy Counsel Martin Brill in order to assist them with

28 their scheme Brill advised Wakeheld and Barrett to tile Chapter 11 bankruptcy for
REsPoNsE To FIRST AMENDED NOTICE or DISCIPLINARY cHARGES
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1 .MLCA and file a fictitious business name to call the firm The Barrett Law Fir_m (“Barrett

 

 

 

2 Law”). Even' though Barrett was the actual owner, he and Wakeiield attempted to deceive
3 the public into believing that Walcefield was the 100% owner. ln connection with the
` : formation of Barrett Law, Bar'rett sent out a self-serving and false email to the entire local

6 Plaintiff Bar Association announcing the formation of his new law firm and failed to
7 mention that Barrett Law was actually MLCA'. This scheme devised by Barrett, Wakeiield
8 and their attorney was designed to deprive Respondent of the $8 million owed to him by
9 Wakefield and Barr`ett and to assist in the improper levying of charges by the State Bar

10 against Respondent.

:; 4 E. BARRETT AND WAKEFIELD EMBARKED ON A CAMPAIGN OF FALSE

13 INFORMATION IN ORDER TO STEAL MH,LIONS OF DOLLARS FROM

14 L&B IN AN ATTEl\APT TO SHIFT FOCUS FROM THEIR_ OWN

15 MISCONDUCT AND USE RESPONDENT AS A SCAPEGOA'['E

 

16 Following the formation of Barrett Law, Barrett and Wal<eiield met .with State Bar

17 . ~ . . `
Prosecutor Eh Morgenstern (“Morganstern”) m an attempt to cause Morganstern to take

1 8
19 over the operations of L&B under false pretenses They told Morganstern that L&B was
20 not operational and needed to be taken over despite knowing these claims Were false.

21 Morganstern allowed Barrett and Wakeiield to send hundreds of letters to clients of L&B, '
22 ' defense counsel assigned to cases L&B was handling and insurance adjusters that owed
23 money to L&B in an attempt to steal money from L&B and its creditors A true and

24 correct copy of one of these letters is attached at Exhibit “2.” Barrett also conspired with
25
26

27

other attorneys and filed false declarations with State Court Judges claiming that L&B was
not operational and was being shut down by the State Bar. Barrett and Wakefield used

28 these letters and declarations to convince these parties to withhold millions m dollars of
~ . . ‘ ~ y , . _ _. RESPONSE To FIRST AMENDED NOTICE oF DISC!PLINARY CHARGES
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' it can be fatal to a law firm if the existence of an investigation or charges are prematurely

 

 

checks owed to L&B for earned fees and costs. These actions deprived L&B creditors and -
L&,B of the money needed to continue operations These actions harmed L&B clients v
because it caused L&B to be unable to collect funds and hire the needed accountants and
professionals to finalize accounting projects that were necessary for Respondent to
discharge is obligations properly and mitigate any damages to clients. On at least one
occasion, Barrett and Wakefield were able to divert a check for $1.65 million to Barrett
Law which is now the subject of a separate lawsuit filed against Bairett and Wakefield by

L&B’s lender Advocate Capital.

F. STATE BAR PROSECUTORS lNSERTED THEMSELVES ]NTO A PRIVATE
COMMERCLAL DISPUTE AND ALl,OWED WAKEFIELD AND BARRETT
TO DESTROY THE GOODWILL AND OPER_ATIONS OF L&B BY FALSELY
`CLAll\/HNG THAT THE STATE 'BAR WAS G()lNG `TO SHUT DOWN L&B’S
OPERATIONS f

State Bar lnvestigations are supposed to _be private until a Notice of Disciplinary

Charges is tiled. The reason for this rule is very simple-until an investigation is complete,

made public. They can be even more damaging if State Bar Prosecutors assist a law firm’s
direct competitors in destroying their law firm, Unfortunately, this is exactly what
occurred here. Morganstern shared conndential information with Barrett and assisted him
with damaging L&B and Respondent’s reputation to the point where it was impossible for
L&B or Respondent to function Morganstern was confronted with these allegations and
he admitted to sharing confidential information, but claimed that he did not tell Barrett that

he would shut down L&B. The bottom line is that either Barrett is lying or Morgenstern is
RESPONSE TO FIRST AMENDED NOTICE CF DISCIPLINARY CHARGES
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lying. In late July 2017, to further harm L&B, Barrett, Wal<eield and Morganstern had
several meetings Out of those meetings, a plan was devised to force L&B' into
involuntary bankruptcy and cause L&B to lose all profitable clients to MLCA and leave all
unprofitable clients with L&B. Wakeiield and Barrett assisted other creditors by filing
false declarations and cooperating With the creditors to serve papers on L&B at a location
that would ensure that L&B was not provided notice On August 3, 2017 an involuntary

petition was filed along with an request for an Emergency Heaiing.

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li4'~, 1 .‘ ~rrnANclAL AND o`rHER MANAGEMBNT REcoRDs.

G. THE WEEKEND BEFORE L&l_?~ WAS F_ORCED INTO BANKRUPTCY, THE
FORMER GENERAL COUNSEL OF L&B ACCESSED THE PARK CITY
OFFICE WITHOUT AUTHORITY AND DESTROYED ACCOUNT[NG,

i$ _ sneng met bernie end series had provided relee`deelereaens under penalty er
' 16 perjury,‘ formerGeneral Counsel, Todd Wakeneld, illegally entered the unoccupied offices
_ g ~;17‘
" ~_ cis
'.~19"
20 t
21 hundreds of folders and files that contained evidence Which would directly contradict

er L&B depart city, Utah end deleted en er the nies en the L&B served located in Ped<
City and unplugged the firewalls and iiber optic connections to the internet. lt was also

discovered'that Wal<eiield had accessed L&Bs enterprise box.com account and deleted

~‘ 22 many of the false claims being made by Barrett & Wakefield.
` 23 .H. AFTER L&B WAS FORCED INT() CH. ll, RESP_ONDENT VOLUNTEERED

24 TO `SPEND THE NEXT 12 MONTHS WORK]NG WITH THE CH. ll TRUSTEE
25 , .

TO ASSIST lN REPRESENT]NG ALL CURRENT .L&B CLIENTS, FUND THE
26
27 ACCOllNTING TO DETERM]NE WHI.CH CLlENTS AND CREDITORS WERE

28 OWED MONEY AND MAXLMIZE THE RECOVERY TO ALL CLIENTS
REsPoNss ro must AMENDED NorlcE or nrsclPLINARY CHARGES
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1 Upon learning of the involuntary bankruptcy petition being iiled, Respondent hired
2 counsel for L&B and successfully defended the takeover of L&B by the creditors
3 Respondent spent the next 30 days attempting to devise a plan to reorganize L-&B in order
: to satisfy all of its creditors and its clients. Respondent estimated that approximately $10
6 million in fees could be earned by L&B over the next 12 months and that it Would only
7 cost $50,000 per month to operate L&B. Respondent communicated with its lender
3' Advoc_ate Capital (“Advocate”) directly and through counsel Respondent was led to
9 believe that if he allowed a Chapter 11 Trustee to be appointed, Advocate would cooperate
10 with L&B throughout the Chapter ll proceedings in order to reorganize and satisfy its
:; creditors Respondent communicated with the Ch. 11 Trustee immediately upon his
13 appointment Respondent advised the Trustee that he was ready, able and willing to
14 support the reorganization of L&B and was committing a team of approximately 20
15 professionals to assist the Trustee in reorganizing L&B. Despite repeated communications
16 to the Trustee over the first two Weeks of his appointment, the Trustee never responded to
1_7 any substantive communications. Respondent learned that the Trustee was electing to
:: “shut down” L&B and liquidate At an average billing rate of $1000 per hour, the
20 Trustee’s motivations are readily apparent As of early August, Respondent was
21 prohibited from accessing any L&B funds, accounting or even signing any document, As
22 of August 2017, Respondent was stripped of all authority to do anything on behalf of
23 L&B. As a result, Respondent Was forced to resign from L&B. Respondent has since
24 learned that the Trustee has taken the position that none of the L&B clients are his
:: responsibility and that all clients are basically “on their own.” lt appears from the conduct
27 of the Trustee that he is also believing the false narrative of Barrett and Wakefi'eld. J ust
28 recently, Respondent was made aware of a communication from a defense lawyer to

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1 Barrett dated August 14, 2017. Thjs letter is attached hereto as Exhibit 3. In this letter, the
~_ 2 defense counsel basically calls Barrett out for all of the lies and misrepresentations he has
3 been making regarding L&B. A reading of the letter makes it quite clear that with a level
: head and ]ust a few hours of work, anyone paying attention could easily refute all of the
' 6 false stories being told by Batrett and Wakeiield Unfortunately, the State Bar’s
7 investigation has been so Shoddy and flawed that despite having all of the facts in front of -
, 3 them, they still haven’t brought charges against Barrett. Furthermore, as evidence ofjust
' 9 ' how pathetic the State Bar’s investigation Was in this matter, the State Bar Prosecutor
10 “l\/_lorganstern” initially filed charges claiming Respondent was a 100%,0wner of L&B at
:; all times, During a conference call with Morganstern, Morganstem refused to believe that
13 Barrett was ever an owner and insisted that Respondent provide evidence that Barrett was

14 an owner. This request deiied logic because L&B was required to tile a Law Corporation
15 Annual Report with the State Bar where all owners, officers, directors and attorneys must
16 be included in the report For all owners, they are required to sign a personal guarantee

1 . . .
7 Barrett signed that report every year he was a partner. Morganstem had that report m his

:: office and for some unknown reason, he refused to acknowledge the evidence before him.

20 RESPONSE TO COUNTS ONE, FIVE, AND NINE

21 _ RULES O_F PROFESSIONAL CONI)UCT, RULE 4-100(A)

22 [FAILURE TO MAINTAIN CLIENT FUN])S IN TRUST ACCOUNT]

23 As the President of a 300 plus person organization with multiple offices and a

24 finance department of approximately 21 professionals, Respondent delegated the iinance

:: function to a CFO who held a Ce_rtilied Public Accoun_ting License to oversee the finance
v 27 department that consisted of dozens of professionals with accounting degrees, master’s

28 ' degrees and charted accounting designations Upon learning of possible issues with
RESP oNSE To F_IRST AMENDED NorrCE OF DISC`IPLINARY CHARGE_S'
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1 L&B’s accounting, Respondent took immediate steps to remedy the situation As a result
2 of the conduct of others, including a Chapter 11 Trustee being appointed, Respondent has
: no ability to determine what if any iimds have not been maintained.
5
6 RESPONSE TO COUNTS 'I`WO, SIX AND TEN
7 BUSINESS AND PROFESSIONS CODE-SECTION 6106
8 [MORAL TURPITUDE-mSAPPROPRIATION]
9 Bus`iness and Professions Code Se_ction 6106 requires the commission of any act of
10 moral turpitude, dishonesty or corruption. The State Bar must prove these elements by`
:; clear and convincing evidence, The evidence shows that Respondcnt worked in good faith
-1 3 to address any and all issues and that no evidence exists to show the underlying intent. As
14 the President of a 300 plus person organization with multiple offices and a iinance
15 department of approximately 21 professionals, Respondent delegated the finance function
16 to a CF 0 who held a Certiiied Public Accounting License to oversee the finance
17 department that consisted of dozens of professionals with accounting degrees, master’s
:: degrees and charted accounting designations If any funds were incorrectly transferred
20 from any of the firm’s trust accounts to the firm’s operating accounts, it was done under a
21 good faith belief that monies were available to do so. Upon learning of a potential
22 l shortfall in the firm’s account, Respondent commissioned a forensic accounting of the
23 firm’s accounts. Due to the appointment of the Ch. 11 Trustee, Respondent was never able
24 to` complete the accounting. Furthermore-, as a result of the misconduct of the State Bar
:: Prosecutor, Barrett and Wakefield, millions of dollars were diverted away nom L&B,
27 which should have been used to satisfy client obligations
28 REsPoNsE To FIRST AMENDED N§)TICE OF DIsCIPLINARY CHARGES

 

 

 

 

 

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RESPONSE TO COUNTS TI~[REE, SEVEN AND ELEVEN

'1
2 RULES-'OF _PROFESSIONAL CONDUCT, RULE 4~100(B)(3)
3 [FAIL.URE TO REN])ER ACCOUNTS OF CLIENT FUN])S]
: 1 As the President cfa 300 plus person organization with multiple offices and a
6 finance departinth of approximately 21 professionals, Respondent delegated the inance
7 function to a CF 0 who held a Certiiied _Public Accounting License to oversee the finance
3 department.that consisted of dozens of professionals with accounting degrees, master’s
9 _ degrees and charted accounting designations Upon learning of possible issues,
10 Respondent took immediate steps to remedy the situation As a result of the conduct of
:; others, including a Chapter 11 Trustee being appointed, Respondent has no ability to
13 render accountings
14 ' RESPONSE TO ’COUNTS F_OUR, EIGHT AND TWELVE
15 RULES OF PROFESSIONAL CONDUCT, RULE 4-100(3)(4)
16 .[rArLunsz To PAY CLIENT isnan PnoMPTLY}
17 As the President of a 300 plus person organization with multiple offices and a ; ' '
:: finance department of approximately 21 professionals, Respondcnt delegated the Hnancc
20 ii.mction to a CFO who held a Certiiied Public Accounting License to oversee the finance

21 department that consisted of dozens of professionals with accounting degrees, master’s
22 degrees and charted accounting designations Upon learning of possible issues,
23 Respondent took immediate steps to remedy the situation As a result ofthe conduct of

24 others, including a Chapter ll Trustee being appointed, Respondent has no ability to pay

25
client funds because Respondent is not in control of any client limds. In addition, prior to
- 26
27 the appointment of the Ch. 11 Trustee, Respondent was in the process of conducting a

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8 RESPONSE TO FlRST AMBNDED NOTICE OF DISCLPLINARY CHARGES
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forensic audit to determine What mistakes the prior attorneys and professionals made in

order to pay client funds as quickly as possible

V. CGNCLUSION
Respondent will be able to demonstrate that the State Bar will not be able to prove

a violation ofBusiness & Professio'ns Code Section 6106, which is a requirement of

Counts Two, Six and Ten by clear and convincing evidence Respondent will be able to

\O'OQ \] O'\ Ul -h w !\.) )-¢

demonstrate his reasonable reliance on others for all other counts and thus will be fully
10 exonerated on all charges The State Bar has conducted a shoddy investigation and has
11 acted improperly in the context of these proceedings The simple‘fact that the State Bar
12 Prosecutor assisted a private party and competitor of Respondent with diverting millions of

13 dollars in funds away from L&B is enough to warrant terminating sanctions and an
14 __

15
16
17 _ ,_
18 Dated: October 29, 2017
19

immediate investigation into whether charges should be levied against the State Bar

Prosecutor for violating the most basic rules of the investigative process.

Respectfully submitted,

 

 

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/P’hilr;’» J. Layneld
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`-Z ' . REsPoNss To runsr AMENDED NoTrCE oF DIanLmARY cHARGEs
' ~ . 12

 

 

 

 

 

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EXHIBH" 1

 

 

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LAYF~IELD & BARRETT AND THE TRANSITION

_Bacl£ground:

Layfield & Barrett‘(“L&B”) (f/l</a Layfield and Wallace and The Layfield Law Firm) has been

profitable since inception in 2010». Philip Layfield (“Layfield”) has been licensed in the the State

of California since 1999. He has.been recognized as a Super Lawyer for the last 5 years, has

- ~ been recognized a a Top L'awyer in Southem California, Multi-Million Dollar Advocates Club,

"Lawyers of Distinction~ and was recognized in The _Recorder’s top verdicts in the state of

California for the last 4 years with multiple entries inthc top 100 , The Layfield Law Firm

became Layfield and Wallace in 2013 and then converted to Layfield and Barrett in late 2015 .

In mid-2015, Layfield recognized the need to bring in more senior lawyers to handle the massive

amount of work flowing into the firm. Layfield had hit multiple 7 and 3 figure verdicts and

settlements over the previous 24 months across the United States and was generating massive

amounts of referral business Layield couldn’t handle all of the work and couldn’t try every

single case. Layfield estimated that L&B could do about $7 million of revenue in 2015 with $2

' " million of profit and doubling those numbers in 2016. Layfield neede d to fill 3 key positions: 1.
General Counsel/Director of Litigation; 2. Senior Trial Lawyer in Los Angeles; and 3. CFO,

' In mid-2015 Joe Barrett, Esquire (Barrett) approached Layfield about joining the L&W Fimi.
Barrett was being forced out of Kabateck’s firm and had nowhere to go. Despite being the
CAALA (the Los Angeles Plaintifl` Bar Association) President and a Trial Lawyer for almost 30
years, Barrett had no clients and indicated that he wanted to jump start his career . He noted that
he hadn’t tried a 7 figure case in almost 5 years and had some residual issues from his
employment _at the Ccchran Finn. At the Cochran Firm there had been allegations of massive
fraud, receiver appointed, allegations of forging receiver’s signature in order to access Firm
funds. Layfield learned of these issues and yet'decided to give Barrett an opportunity to do a
good job ~.- which Barrett promised he was able and willing to provide. Discussions occurred
throughout the F all of 2015 and it was determined that Barrett would start on 1/1/2016. He was
given a base salary of $300,000, 10% equity ownership that he purchased with a note and a_car
allowance of $1200 per month so he could lease a white corvette. As soon as Wallace learned of
this, he resigned from the Firm and L&W Amended its Articles of Incorporation to become

Layfield & Barrett.

In September 2015, Layfield had the HR department put ads out for a Ge'neral Counsel position.
Ads were placed in Utah, Arizona and California Todd Wakefi_eld (“Wakefield”) contacted
Layfield when he saw the ads. Layfield had met Walcefield two years earlier (in 2013) when

 

1 Layfield is on the Board of Governors for the Consumer Attorneys of California (the Statewide Plaintilf Bar
Association), a member of the Leaders Forum of the Ar_nerican Association of Justice (the National Plaintiff Bar

Association), a member of Trial Masters hgn://www.trialmastei_'s.com/membership~list/ and a Meinber of National'

Trial Lawyers Top 100; https:/_/www.thenatio`naltriallawvers.or,a/tox)~l00.-trial-lawvers-`x
directo /?last name=&ci =&association=Civil%ZOPlaintiff&state=CA-S& eno=2

        

 

 

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Layfield had placed an ad for a $60,000 project manager position in the Park City office for the
the Firm. When Layfield interviewed Wakeiield. for that position in 2013, Wakeiield had
confessed to not practicing law for the last 2 years as result of suffering from both a cocaine and
alcohol addiction problem and just coming off a long rehab stint. Wakefield confessed to
Layfield about misappropriating client funds, various bar complaints and entering into a
settlement with the Utah State Bar. At the time, in 2013, Layfield passed on hiring Wakefield
for the $60,000 project manager role because Layiield perceived Wakefield as being a huge risk
to the firm and unstable. When Wakeiield contacted Layfield about the General Counsel
position two years later, Wakeiield convinced Layfield that he had overcome his issues and that
he could be a,positive contributor to the L&B Firm. Layfield agreed to hire Wakeiield as

General Counsel at a base salary of $120,000 per year.

At the same time, Laytield received an inquiry from Steven Weinberger, an attorney in Arizona
looking to get hired for the same GC position. Weinberger convinced Laytield that he could
create a highly profitable Arizona otiice with immediate cash tlow. Laytield hired Weinberger
in September 2015 as the Managing Attorney with a base salary of $200,000 per year. .
Weinberger immediately signed up a large amount of cases, but later there developed problms as
Weinberger signed contracts without getting approval from Layiield and otherwise mismanaged
his Arizona cases. L&B was forced to pay out hundreds of thousands in case expenses due to
agreements Weinberger signed witout consulting with the team as was required. Ultimately,
Weinberger was terminated for lack cf performance in January 2017 after missing his financial
targets by 70% on top line revenue, Weinberger later sued L&B and its partners alleging upaid
wages and mishandling of client funds.

During 2015 and linto 2016, L&B utilized a very favorable agreement with 855triallawyers.com
KPO Ltd. (“855”), which is now owned by MLS. 855 provided back office services to L&B at a
fraction of the cost in the US. This allowed L&B to ramp up its case load and be very efficient at
moving cases along. L&B was a complicated and sophisticated organization which was on the
cutting edge of law practice management and vision. lt was not just merely a law firm but a
machine that was designed to work together to market, quantify, litigate and/or settle its cases
with a design that was created to cut costs in its marketing platform, provision of services
platform and ultimately resolution of its cases. When necessary, LayEeld could try cases against
the most talented lawyers in the country and win large verdicts.

The Plan for 2016:

L&B and all of its people, systems and the cases were in place for a large profit year in 2016.
Wakefield was tasked to work with the Finance Team to develop case values for all of the cases
along with the current Director of Litigation, Andrew Schuh (“Schuh”). Schuh and Wakeiield
were taske_d to work hand in hand on ALL litigation functions The revenue projections for
2016 predicted gross revenue between $14 and $18 million with costs of approximately $10
million. Advocate Capital increased the Hnn’s line cf credit to $4 millionz.~ Despite the
planning and team formation and projections, January 2016 was a disaster. For reasons
discussed later, no revenue came in and even worse Barrett’s transition to the firm was a disaster.
Barrett failed to mention that he was not proficient on the computer, couldn’t put together an

 

2 Notabl_y Barrett refused to sign a guarantee on that loan by claiming “my wife won’t let me.”
2

 

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opening statement and confessed to having ADHD so that he was unable to focus on anything
He also confessed to a marijuana habit that caused him to smoke marijuana daily. He was not
able to operate by himself He brought several attorneys from Kabateck’s finn with him which
was as equally unsuccessful None of the multiple cases that Barrett promised to bring in
materialized He promised to he could generate massive referrals from his contact, but none of
this happened After 30 years in practice, the cases he did bring over were mismanaged,
mishandled and had been grossly underworked. Layfield had to spent inordinate amounts of
time coaching Barrett and finding “remedia ” seminars and courses to send him to "so that he
could function at a basic level. Despite having 25 lawyers at the time, Layfield was the only one
bringing in revenue In February 2016, Layfield brought 111 a $l. 1 million fee for a case he
settled m December 2015, Unfcrtunately, that fee was spent before it even hit the door due to
the losses experienced m January 2016. During the Brst half of 2016, productivity did not rise,
but, rather fell, as people were not meeting financial targets, there was a general lack of
perfonnance, all of which, collectively caused the L&B Firm to lose money. Despite this
setback, Layfield believed that he could turn things around. Layfield first fired Schuh as
Director of Litigation (in June 2016) and appointed Wakefield in that role. Wakefield received a
pay increase to a base salary of $200,000. During the summer of 2016, Layfield aggressiver
began settling cases and ultimately settled several large cases. One for $1.25 million, one for
$1.2 million and another shortly after for $3.9 million in August 2016. As of August 2016,
L&B had generated approximately $7 million of revenue, appeared to be profitable through 8
months of the year and 'Wakefield produced budgets showing approximately $7 million of
additional revenue by the end of the year. Things began to look like they were improving

I_he Restructuring of the Finance Depa@ent in August 2016

ln early August 2016, it was discovered that the CFG Gaurav Nanda and who was hired in early
2015 and appointed by 855 was stealing nom the Indian company and that other management
team members for 855 were stealing as well. This was uncovered by some employees of 855.
Layfield had to terminate everyone in _lndia associated with this improper conduct Guarav
Nanda, the .CF 0 was terminated as well as Abdul Fancy, the Managing Director hom 855 . The
stealing had an effect because Nanda had access to the bank accounts of both L&B and 855. At
the time, it didn’t appear that Gaurav Nanda had stolen more than $50,000 from any one account,
Barrett, who was a partner in the firm at the time and a member of the Board of Directors was of
L&B offered no support to Layfield during this time. Barrett was too busy smoking marijuana in
Iamaica. After this crisis, Layfield made the decision to restructure the Finance team and
immediately move to implementing the NetSuite ERP. This new ERP system was designed to
improve visibility, reduce manual entry mistakes and eliminate duplicative data.

The Finance Department Was supposed to be set up with the following structure A Global CFO
would oversee everything from the Park City office so they could interact daily with Todd
Wakefield in his position. The Global CFO was to oversee several divisions who would each
t have their own Controller. The Finance Group would have the following divisions: l. L&B
Financial _Reporting which would handle A/P, A/R and F manc1al reporting for L&B; 2 Client
Advanced Costs which would handle all costs advanced on cases and manage the reporting with
Advocat_e Capital; and 3. Close-outs, which would work with Todd to get cases closed out
Ulti_mately, Wakefield was to oversee all of these divisions, including quality control and

 

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accounting. Wakefield recommended his friend Jeff Pannebaker (“Pannebaker”) for the Global
CFO role and Layfield agreed to his employment

Pannebaker as CF()

Layfield agreed to hire Pannebaker and Pannebaker assumed the role of Global CFO in October
2016 and received a base salary of $140,000. Layfield learned in March 2017 that{iiom his
hiring in October 2016 Pannebaker through and until April 2017, failed to complete any of the
tasks that he was hired to complete: he did not close the books properly, never once accounted
for client advanced costs and completely failed in his role to implement the NetSuite ERP
system. At the holiday party, held in early December 2016, Layfield learned that Pannebaker
had barely even spoken to the majority of his team and failed to manage their worlcflow and
productivity on any level. Pannebaker spent the majority of his time only dealing with Todd
Wakefield and Denise Kesler on_ close~out issues. In essence, L&B had no system in place to

n review cash flows, revenue forecasts, monthly profit and loss which deproved L&B and
Lakefield from any ability to understand the financial condition of the firm. When Pannebaker
realized that cash flows were tight and payrolls were going to be delayed, he abruptly resigned
with no notice in early April 2017.

Wakefield and Resnonsibilitv For Revenue

 

From July 2016 to June 2017 Wakefield was tasked with and agreed to oversee the management
of the litigation teams and oversee and manage the L&B Firm’s financial forecasts through both
processing and collecting financial information from the management team members and
updating Layfield so that Layfield would be able to release client funds With complete
confidence that the internal auditing and reporting was accurate. It was learned later that
Wakefield did not employ the management that he had agreed would be completed including
not conducting weekly team meetings with his 10 litigation teams (10 hours per week), not '
updating case values and resolution times and not providing any real-time information as to
present revenue, forecasted revenue and/or timing of receivables On many occasions, when
revenue in excess of $1.5 million per month would be forecasted through Wakefield reports, only
later With Wakcfield confessing to Layfield that the revenue and collections reports were not
accurate (all without correcting the issues of managing the teams and actually collecting
revenue). On several occasions, Wakefield would,confess to generating only 10% of the
monthly revenues that he had projected Regardless of these problems, Wakefield and
Pannebaker would tell Layfield he needed to_ transfer money from IOLTA accounts to Operating
accounts to make payroll and other expenses. Layfield assumed there Was sufficient money in
these accounts all the way until late January 2017. As 2016 was closing, Layfield became irate
`with Wakefield and demanded answers. Waketield promised Layfield that December 2016
would produce $2.5 million in revenue and Q1 of 2017 would produce $5 million of revenue.
This all turned out to be false. This is because the ground work that Wakefield was responsible
for (and being compensated to perform) was not completed ln retrospect, it is unclear what
exactly Wakefield did with his time since it was not the management and reporting that he
understood and contracted tc complete

The Assault on the Firm bv' Former Emplovees

 

 

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.As 2016 came to an end, many employees were demanding performance bonuses for cases they
had resolved Layfield learned, in early 2017, that the L&B Firm did not have the available cash
to pay these bonuses and that Wakefield needed to work with Pannebaker to create a new
incentive compensation plan that was tied to overall firm profitability Netsuite had an incentive
compensation module that was purchased to effectuate this plan. Layfield learned, later, that
Wakefield and Pannebaker failed to finalize the plan and never did anything to move this
forward. L&B began experience serious defections and several employees threatened wage and
hour lawsuits One employee in particular, Mark Bloom, demanded $66, 000 in bonus

` compensation He was paid in full m early January, At the same time, Barrett and Wakefield
met with Sergio Alvarez who was one of the clients Mark Bloom had worked with. Alva rez told
Wakefield and Barrett in early January 2017 that Mark Bloom had coerced him to file

.~_complaints with the State Bar over a delay in disbursing his hinds Barrett and Wakefield
immediately contacted Layfield and came up with a plan to disburse $25, 000 per month to
Alvarez until his other cases resolved This client had other issues associated with other cases

which required a plan to “reign” this client in.
' The Arizona Office and the Weinberg`er'Lawsnit‘

In mid-January 2017 Layfield was told by Wakefield that L&B would generate almost $_5 5
million m revenue for Ql 2017 with only $2 million of expenses. Layfield believed that any
cash shortfalls that may have existed would easily be cured with a $3. 5 million profitable
quarter. In late January 2017, Waketield confessed to Layfield that Ql was going to be way
below that projection Wakefield confessed that approximately $3 million of the 7$5.5 million
was supposed to come from the Arizona office would not be collected. Layfield instructed
Wakefield to immediately terminate Weinberger for his gross misconduct and for his intentional
misrepresentations of revenue, Weinberger was terminated and he immediately filed an
inflammatory lawsuit in Arizona. In the lawsuit, Weinberger accused Layfield and L&B of
having accounting issues with its trust accounts and not being in compliance with State Bar rules.
Weinberger sent this lawsuit to clients of L&B, Barrett, Wakefield, fenner employees of L&B
and current employees of L&B. Weinberger then engaged in a full assault on the Arizona office
by showing this lawsuit to most of the Arizona office clients. Weinberger’s behavior resulted in
the Arizona office losing 95% of its clients. The office was destroyed and $6 million of expected
2017 revenue evaporated. It should be noted that Weinberger represents that as of Aug_ust 2017,
not one of the cases he stole has settled or generate any legal fees. lt is clear that Weinberger

should be focus of recovering money for L&B.
The Irvine Oiiice and the Complaints from the Irvine Attornevs

Following Weinberger’s lawsuit, the only remaining attorneys in the lrvine office resigned and
complained about accounting issues and delayed client disbursements, which was most likely
sparked by the rumors being generated by the Weinberger lawsuit. During this entire time
period, Barrett was a member of the board of directors, an equity owner and Wakefield was an
officer of L&B. They were all aware of these issues prior to and through the January 2017

~ timef`rame. `

 

 

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The Plan to Regroup and Shift Focu_s to Hiuh Value Cases

By February 2017, it was clear that financial projections were being missed and cash was getting
extremely short Layfield was contributing money his own funds to make payroll. Layfield
asked Wakefield and Barrett to defer some of their compensation to help and both refused
Barrett’s wife would call and demand immediate wires. 011 some occasions, Layfield would
wire personal funds and those funds would be paid directly to Barrett despite Barrett knowing of
client disbursement issues3. At the same time a major blow was struck to L&B when Conal
Doyle' filed a lawsuit on behalf of a former client alleging that Wakefield and Barrett had
essentially tried to steal money from a client during the close-out process. Doyle cited to the
dozens of interactions he had with Wakefield over the previous nine months. Doyle attached the
Weinberger lawsuit as an exhibit to his lawsuit and raised many of the same issues regarding
accounting problems as the Weinberger lawsuit. Barr`ett and Wakefield were on complete notice
of accounting problems in February 2017 . The Doyle lawsuit was highly publicized in the Daily
.lournal. Layfield felt this was a death sentence for the firm going forward Layfield decided to
retire nom the practice of law by the end of 2017 . Layfield explained to Wakefield and Barrett
that he believed that a new national entity must be created to avoid the negative publicity being
generated w/re L&B. Barrett and Wakef`ield agreed and the decision to form Maximum Legal
was agreed upon by all three lawyers. Maximum Legal was going to focus on single event
plaintiff cases with values in excess of $1. million and mass tort cases.

lite Cash Shortfalls Emerning with Lack of Visibilitv

By March 2017, L&B was experiencing massive cash flow issues as a iesult of Wakefield’s
missed revenue targets and his complete incompetence in managing the settlement `process. It
became clear that approximately $2 million in fees were stuck in the mud and not imminently
collectible because Wakefield didn’t supervise anybody in collecting funds. Attorneys would
fail to get settlement agreements signed, fail to file motions to get settlement approved
(sometimes as long as 6 months) and fail to engage in the mostsimple of tasks to generate
money. Pannebakerdid not assist in any fashion as he was expected to dog rather than assisting in
collecting, he demanded moving cash from IOLTA to operating to cover expenses. He would
come up with iteration upon iteration of how to move money from IOLTA to Operating.,
Eventually Layfield realized that money was not available to move the amounts Pannebaker was
requesting When Layfield refused to move the monies, Pannebaker abruptly resigned. Layfield
could not agree to move the funds because the funds were not available and nobody could
explain why several million dollars was not being collected

file 2017 Bgdget Prepared by Wakefield Showing a Full Recoverv

In April 2017, Layfield demanded that Wakefield redo the 2017 budget to get a real ~time plan to
get to the point that actual viability could be ascertained The budget created by Wakefield
showed a full recovery by summer of 2017. Layfield was confident that if any accounting
shortfalls existed, they could easily be recovered from the large profits on the horizon. Layfield
took the collection process away from Waketield and assigned it to the COO Rita Mims. Mims `
relayed that the collection process was in complete disarray'and made an attempt to seriously

 

3' Apparently, Barrett was under a very strict payment program in order to avoid immediate foreclosure of his home.

6

 

 

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attack and consolidate the collection process. Mims began collecting funds in late April`2017,
but it seemed a little bit too little too late.

T_he A¢tqai`ioit.i¢si$ts come in

‘ ABy April 2016, the tinancial.resu_lts of L&B;came in. It showed revenue of approximately $11
. _ million with a loss of almost $2.7 million.` At that time Layfield knew a massive problem
existed, but h_e didn’t have completed accountings in order to review the accounting in real-time.
rLayfield asked the remaining L&B controller, Shyam Bandepalli to review the results, requested
updated financials for 2017 and asked him tjo conduct an audit of all close cuts By April, L&B
owed the 855 company almost $1 4 million 111 past invoices and many employees of 855 began
abruptly quitting or refusing to work. Bandepalli was one of the people that refused to work .
Layfield had no ability to get information, but knew that if the financial results came in, there
was a chance of resolving all accounting and payment issues

The Destriiction. of the Bangalore Office

By late Apr112017, the Bangalore 855 office was in trouble. Nobody was getting paid because
of the lack of cash flow from unpaid L&B invoices and as a result folks were leaving in droves.
lt was impossible to get work done and Pannebaker, who had agreed to oversee (and get paid to
oversee) failed to do so and then resigned in the midst of this crisis.

The Plan Between Lavfield, Barrett & Wakefield to form a new firm

Despite the massive problems at L&B, it appeared that there was an opportunity to resolve all
issues to everyone ’s satisfaction Layfield settled a case for $5. 25 million in March 2017 and
then settled another one two weeks later for $3. 5 million Layfield also had several other large
cases that he was working to resolve at the same time. Layfield had historically brought in and
resolved the largest cases with the largest results. He had, historically, generated more money
than the entire firm combined At this time, in April 2017, the documents for the ML transition
(“'l`ransition”) were ready to sign and the Master Association ’Agreement was executed The
main focus of the Transition was to ensure L&B had enough assets/revenue to pay any and all
client claims and all creditors Barrett and Wakefield were clear in the goals. Barrett and
Wal<efield were more than happy to leave all of the baggage behind at L&B and move on They
were excited about their increased equity percentages and Wakeiield was ecstatic about his raise
from $200, 000 to $300, 000 upon becoming a partner, All documents were executed and the plan

was in place
Lavfield. Barrett & Wakefield

The main issue during this entire process was obtaining the final complete and accurate
accounting so that L&B’s clients and creditors were paid. During this time bar complaints were
filed and many clients were irate at the delays Unfortun`ately, with no accounting staff and
almost no money coming into pay anybody, things ground to ~a halt.` Approximately $3 million
of receivables was set to come in from Layfield’s settlements and it appeared that another $Z to
$3 million would be coming during the summer of 2017. Layiield had serious discussion with

 

 

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Wakefield and Barrett about the accounting issues. Layfield expressed to Wakeiield and Barrett
that since he was retiring from the practice of law, he would allow Wakefield and Barrett to point
the finger at him so they wouldn’t be disciplined and so they could continue working at ML in
order to generate money and pay the notes owed to Layfield. At that point, Waketield came up
with some plans to insulate himself and Barrett. Wakefield suggested that Barrett resign from

. the board of directors retroactively and have his equity interest iii L&B rescinded Wakeiield
backdated a resignation of Barrett from the Board of Directors ofL&B.

Between Layfield’s departure on June 13, 2017 and the filing of the lawsuit by Nguyen, things
were very tense between the former partners Barrett began an email assault on Layfield
regarding client'issues. Barrett thought as part of the pact that he should send emails in an
attempt to create the fiction that he had no idea about the accounting problems and that he had
just learned of these issues. ln reality, the pact was that Barrett could inquire about these issues
` and Layiield would respond by saying that he would take care of things, Barrett would often
reply to those emails with a two thumbs up emoji. Eventually, Barrett Went overboard and began
sending dozens of emails each day and would bombard Layfield’s email box with late night
multi-page emails Layfield become so irritated with Barrett that he eventually had to block
Barrett’s emails Layfield expressed extreme frustration with Barrett over these issues and
explained to Barrett that his emails were not helpful and would be perceived as a desperate

measure to shift blame to Layfield.

After the Ch. 11 bankruptcy was filed for Ml,, Wakefield and Barrett refused to answer any of
Layfield’s calls and basically went silent.

The L&B IOLTA accounts:

Layfield was the primary signatory on the Esquire Bank IOLTA account, Layfield was aware of
3 other IOLTA accounts, but he does not recall if he was ever given online access to any of the
other IOLTA accounts held at Wells Fargo. On several occasions, Layfield had given his online
passwords to the IOLTA and operating accounts at Esquire Bank to various member of the
Finance team, which included Pannebaker. The system for disbursing funds was Layfield would
rely on up to date accounting/collections reports generated by Waketield, Pannebaker and other
members of the Finance team (after his oversight of Team reporting and accounting figures),
acting accordingly The failure to update accounting reports resulted in a lack of real-time
information and confusion about Wher`e and what funds were collected into the L&B accounts.
Layfield could not release funds without up to date information or accurate close-out reports.
The allegation that Layfield “stole” client iimds is not accurate »- rather it was misreporting by
Wakefield and directions by Wakefield and Pannebaker to transfer funds to operating accounts
as well as a failure to settle, manage and collect funds that led to the shortfalls.

CONCLUSION
` The Curr'ent False Narrative Being Perpetrated by loe Barrett, Todd Wakefield and Marty Brill

@ Phil Layfield stole all the money `
c Joe Barrett and Todd Wakefield had no idea of the accounting problems/challenges

 

 

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o Phil Layfield hid the fnm’s problems from everyone and T odd & Joe are in shock over
the current situation

a Everyone was innocent and Phil Layfield is a criminal

o Todd Wakefield is the bona fide owner of Maximum Legal (California), LLP and Joe
Barrett Law is a d/b/a that has no culpability ` '

: The Facfs :ml§jkafe That

Phil~Layfield put more money into L&B then he received out of L&B.
Joe Barrett and ~T odd Wakelield had full knowledge of accounting issues as early as
October 2016' and continued to draw large salaries `
a ~ L&B was profitable until vSeptember 2016.
o 'Todd Wake§eld intentionally mislead Phil Layfield and others about the true
. ' performance‘of the litigation teams until it was too late.

o In his role as Director of Litigation, Todd Wakefield grossly mismanaged the litigation
teams (which was his primary responsibility) and failed to perform his daily, weekly and
monthly duties.

6 When 1 eff Pannebaker was hired in October 2016 as CFO, he grossly mismanaged the
Finance Team, failed to complete the switchover from quickbooks to NetSuite ERP and
failed to provide any useful reporting to management In essence, L&B was flying blind
for almost 8 months due to J eff and Todd’s failure to do even the most basic tasks

e Joe Barrett had full knowledge cf the accounting issues, client complaints, but sat back

1 and waited for an opportunity to take advantage of the demise ofL&B.

w Joe Barrett has engaged in almost the same type of behavior in the past when he was sued
for fraud and was forced to have a receiver appointed during the demise of the Cochran
firm. ' v

o Joe Barrett encouraged employees to quit, sue and steal cases.

e_ When accounting issues were discovered, an agreement was had between Joe, Todd and
Phil to point the finger at Phil so any State Bar issues would be focused on Phil and so
Todd and Joe could continue making money for Maximum Legal and in turn L&B

o Jo,e and Todd.breached the pact iii an attempt to gain 100% control over Maximum Legal
(California), LLP and avoid paying the $8 million notes to Layfield for the purchase of
their interests in Maximum Legal.

 

 

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EXHYIBIT 2

 

 

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_W_
BARR`ETT LAW

Trial Lawyers for the People

3777 Long Beach Boulevard
3“i Floor
Long Beach, CA 90807

Augus_t 3`, 2017

VIA FIRST CLASS AND E~LECTRONIC MAIL

David Breitburg, Esq.

Tharpe & Howell LP

15250 Ventura Blvd., 9“‘ Floor
Shennan Oaks, C-A 91403

DBREITBURG@THARPE-HOWELL.COM

Re: Case Name.' Johnson v. Sky ’s T he Lz’mz`t Lz`mousine, Inc.
County ofUr'ange Case No.: 30~20]6-00845876-CU~PA-CJC

pate oflnczden'r.~ 04/16/2014

Dear Counsel:

As a former employee of the law firm of Layfield & Banett, APC (“L&B”), which has
served as counsel of record for the plaintiff in the above-referenced case, 1 am writing to advise
you that L&B appears to have effectively ceased to function as an active law practice Efforts
are underway to provide for the orderly winding-down of its affairs and the transition of its cases
to other lawyers and law firms to ensure that client interests are protected Your patience and

cooperation in this process is requested

l have been informed that creditors of L&B have filed a petition for involuntary
bankruptcy in the U.S. Bankruptcy Court for the Central District of California This action
follows the termination of all remaining lawyers and staff in June by the firm’s managing
partner, Philip' Layfield (“Layiield”). L&B and Layfield personally also are the targets of
multiple claims, lawsuits, bar complaints and client complaints alleging mishandling of client
hinds and other misconduct Consequently, the Office of the Chief Tiial Counsel of the State
Bar of California is considering proceedings under section 6190 ofthe Business & Professions
Code for assumption of jurisdiction over L&B by the Supeiior Court. Absent such action, we
anticipate an ex parte motion shortly seeking a broad~based stay of proceedings in the above~
referenced case and other cases in the L&B portfolio to protect clients from adverse
consequences under these unfortunate circumstances

ln the interest of ensuring that clients who are effectively unrepresented in active
litigation are not banned by circumstances over which they have no control (and of which they

l

 

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BARR‘ETT LAW

l Trial lawyers for the People

may not yet even be aware), lam requesting your cooperation and civility by a request that you
postpone further activity in the above-referenced case for 45 days while these issues are being
sorted ’outa'n'd formal actions and orders are being put into place.

If you"wi_ll be so kind, please sign your name below and entail this back t_o me at
` l"'oebatretttirnt-.c-‘,oin -s_o_ we can assure the clients‘ti'me is being afforded to straighten out this

  
  
   

'Joseplt M, Barrett, Esq.

 

Signed qugd

A-ttorneny Defendant:

 

 

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. » q }/

Culver City, CA 90230

‘ (310) 204-0777
August 14, 2017
Joseph M. Barrett
Barrett Law ~
, 3777 Long Beach Blvd'., 3rd Flo_or
LOHS B€a<>h,' CA 90307 ' 4 Via certijied, return receipt mail

RE: Reyna, et al. vs. Perez, et al., Los Angeles Superior Court Case No. BC621050

Dear Mr. Barrett:
Your request by letter dated August.$, 2017 is denied.

Your letter ofAugust 5 is the Erst I have ever heard of the circumstances you describe, and based upon
research I conducted last week it appears you have omitted important considerations

You eschew any positive assertion that you have any authority to act on behalf of the plaintiffs in the above-
ret`erenced matter. You do not assert that you have become, or~inten_d to become, attorney of record in the
matter (personally, or through “Ba'.rrett La'w,” or “Maximum Legal (California),” or any other entity).
Indeed, you 'do not even assert that you have ever been in contact with the plaintiffs, or that you plan to
contact them for the purpose of substituting as counsel of record.

According to filings in the two pending bankruptcy proceedings involving Layfield & Barret and Maximum
Legal (California), accessible through the pacer.gov system, you and your associate, Mr. Waketield, were
well aware beforehand of the pending winding down ofthe affairs of your former firm and the assumption
of representation of its clients by the latter-mentioned firm. Well before this summer, both of you appear to
have executed several documents and exchanged emails with numerous lawyers in these inns for that
purpose While you maintain that the actual cessation of operations of your former iirm was abrupt,_ it
appears to me that you and your old iirm(s) did not take sufficient steps beforehand for the effective or
orderly transfer of representational responsibilities .

\lndeed, I discovered this last week that someone caused to be filed a change of address and a purported

association of counsel in the above-referenced matter by Maximum Legal (Ca`lifomia), LLP, on or about
June 19, 2017. However, I can not recall ever receiving the supposedly mailed service copy, I can not find it
in my lile, and that instrument is ineffectual for any change of the name(s) of any attomey(s) of record in so
far as it contains no signed consent on behalf of the clients. (See CCP §584,) Your Aug. 5 letter makes no
mention of this law iinn, of which you appear to be a principal lawyer. So, of course your letter ofAug. 5
makes no mention of any purported association of this firm into the above-referenced matter.

Moreover, while in your Aug. 5 letter you maintain that your old linn of Laytield & Barrett has ceased
operations, you fail to mention in your Aug. 5 letter that in bankruptcy proceedings Mr. Layiield maintains
that your old finn has been operating and continues its operations You also fail to mention that the Laytield
& Barrett bankruptcy matter was at that time subject to a motion for conversion into a voluntary Chapter l l
proceeding lt has since been so converted, according to on-line records,

 

 

 

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Barrett Lelter
August 14, 201 7
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hideed, both of those bankruptcy proceedings relating to the two firms make it abundantly clear that your old
finn of Layfield & Barrett, Maximum Legal (California), Mr. Layfield, yourself, and others have been, and
are currently, engaged in sharp disputes over not only sums of money, but also over who properly represents
potentially several dozens of litigation clients who Were once solely and officially represented by your old
firm Layiield & Barrett. The possibility that the above-referenced is one of those disputed cases is obvious

At least since April of this year, the plaintiffs‘ counsel of record in the above-referenced appears to have
abandoned any interesth pursuing the case, My client offered himself for deposition several times before
that, only to have plaintiti`s‘ counsel unilaterally cancel each of the reserved and noticed deposition dates.
Lnstead, plaintiffs counsel only seemed interested in continuing to make demands for the payment of sums
to settle the matter, even though it was unambiguous that my client intended to defend the matter at trial and
not pay out any nuisance value in the case. After the last rejection by my client of a CCP 998 demand, the
plaintiffs case has languished. Afrer more than four months, your mailed letter ofAugust 5 is the next
contact I've actually had in the case from anyone purportedly associated with the plaintiffs».

lf you have, or ever do, see the Layfield & Barrett tile in this case, you Will see that l have briefed several
binding court precedents that dictate no duty of care was owed by my client to the plaintiffs The plaintiffs
counsel has never, ever, in about a year’s time now, presented any facts to indicate, as is necessary under the
law, that my client was on notice to suspect that any risk of danger existed at the residence he rented and
where the alleged injuries took place. The plaintitl`s’ answers to discovery propounded to them on these
factual points were nonresponsive, nonsensical and failed to establish any of the required facts for recovery
In the absence of such essential facts, Imany months ago demanded in writing of plaintiffs counsel that this

matter be dismissed with prejudice as against my client,

l reiterate to you directly that which you will find in your old iinn's.iile for the case, if you ever see it -
namely, that the matter should be dismissed forthwith and with prejudice as against my client, that is, in‘s_o_
far as it is within your lawful ability to assist or eH`ectuate such an outcome Ithank you in advance for any
efforts you may expend towards that outcome

Nothing contained herein or omitted hereii€om is intended, nor shall it be construed to be a waiver,
relinquishment, diminution, or impairment of any of my client’s rights, claims, defenses, privileges or

` remedies, all of which are expressly reserved

 

David L. Clark
Attorney for Defenda_nt Edgar Hurtado

./

CC, via certified return receipt mail:
Layiield & Barrett, 382 NE 1915‘ St., #42308, Miami, FL 33179-3899
Te’Aira Law, Maximum Legal (California), LLP, 633 West 5“‘ Street, Suite 3300, Los Angeles, CA 9007l

 

 

 

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sthtll QF':CALIFGRNIA,COUNTY oh Los: ANGELES
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I, the undersigned herehy- certify that I’ am a eitlzen of the United States ahd over the
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who will sign a seph_rhte proofof service llan completlon My busihes'_s eddf.<-ZSS l`S 332 NE
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EXHIBIT “B” (Layfield Declaration re Bankruptcy Case

(without exhibits))

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Curd, Galmdo & Smlth, L L P
301 E. Ocean B0u1evard, Suite 1700
Long Beach, CA 90802
Ph: (562) 624-1177
Fx: (562)624-1 178

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CURD, GALINDO & SMITH, L.L.P.
JEFFREYB. SMITH, SBN 150095
301 East Ocean Boulevard, Suite 1700
Long Beach, CA 90802

Telephone: (562) 624-1177
Facsimile: (562) 624~11'78

Email: jsmith@cgsattys.com

A'ctorneys for Debtor Layfield & Barrett, APC
UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

LOS ANGELES DIVISION
111 re: Case No.: 2: 17-b1<-19548~NB
LAYFIELD & BARRETT, APC Chapter 11

DECLARATION OF PHIL:P LAYFIELD IN
sUPPORT OF DEBTOR’S opPosmoN TO
Debtor, EMERGENCY MOTION FOR
APPO]NTMENT oF INTERIM TRUSTEE
UNDER 11 U.S.c. sECTIoN 303(§)

Date: Augus'c 8, 2017
Time: 1:00p.m.

Place: Coul“troom 1545
25 5 E. Temple Street
Los Angeles, CA 90012

\/W\'/‘~../\_/VW\_/W

HONORABLE NEIL BAS ON,
UNITED STATES BANKRUPTCY JUDGE

 

 

TO THE HONORABLE NEIL BASON, UNITED STATES BANKRUPTCY IUDGE, AND TO
INTERESTED PART[ES:

COMES NOW PHILIP LAYF]ELD and Submits his declaration and Exhibits in support Of The
Opposition of Layield & Barrett, APC to the EI\CERGENCY MOTION FOR APPOINTMENT
OF INTER[M TRUSTEE UNDER 11 U.S.C. SECTION 303(g), filed by Petitioning Creditors ~

The Dominguez Firm, Mario Lara, Nayazi Reyes and Maria Rios.

 

 

 

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l DECLARATION OF PHILIP LAYFIELD
1, Philip Layiield, hereby declare as follows:

1, 1 am an attorney duly licensed to practice law before all courts of the State of California
and 1 am the President and Sole beneiicial owner of 100% of Layfield & Barrett, APC
(hereinaiter L&B).I have been a practicing lawyer concentrating on personal injury and
business litigation cases for over 15 years.

2. 111 2016 and early 2017 1 decided to commence the Winding down ofL&B in favor of a
new business model. The new business model Was to expand to a national firm that
focused on larger cases as opposed to high volume We Would seek out larger tort cases
and Wliere necessary team With local lawyers Who needed the experience and resources of
a national firm of experienced litigators.

3. 1 intended to use my experience to market the larger cases for the new business, and to
manage the “bacl< office” lilnctions of a large multi~state national practice item off site,
with Information Technology, accounting and other functions under my supervision, but
performed in favorable labor and overhead markets tc save cost.

4. 1t Was my intention to ultimately remove myself from the day to day handling of cases as
a trial lawyer, and to manage the marketing side of a national law practice nom Costa
Rica Where office and labor costs are very inexpensive

5. The new national law firm Was formed in early 2017, as detailed more beloW: Maximum
Legal, LLC a Delaware limited liability company (“ML”).

6. 1 am the CEO ofl\/lLS and sole beneficial owner of 100% ofl\/]l.’s membership interests

 

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ML owns four wholly-owned subsidiary law firms which are: l. ' Maximum Legal
(Caliform`a), LLP; 2. Maximum Legal (Arizona) LLC, Maximum Legal (Utah), LLC and
Maximum Legal (Florida), PLLC.

Some existing cases of L&B would be transferred to ML for handling by one of the ML
subsidiaries Other cases were to be resolved or culled within L&B over the next year as
discussed below,

The law linn of 1 ones Waldo in Salt Lake City, Utah prepared the documentation for the
winding down of ofL&B, the transfer of cases and assets from L&B to ML and/cr its
subsidiaries, and the formation of ML and its subsidiaries along with the assistance o;t` the
former General Counsel of L&B, Todd Waketield.

1 am also the CEO cfl\/.[aximum Legal Services, LLC (hereinaii`ter “MLS”) which is not a
law firm, but provides the back office litigation support services as well as other services
to law iirrns including ML and its subsidiaries Through its network of afiiliated entities,
MLS currently employs approximately 20 individuals in 4 countries The website is
Www.maximumlegalservices .corn.

1 have become aware of declarations iiled in the Maximum Legal (California), LLP
bankruptcy case along with certain declarations filed in this case which are false,
deceptive, misleading and inflammatory l

1 have not fled the oountry. 1 have been in constant contact with Joe Barrett, Todd
Wakei‘ield and others since my plarmed move to Costa Rica. My planned move has been
in the works for approximately 6 months with the full knowledge of Joe Barrett, Todd

Wakefield and all key employees of L&B and ML.

 

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13. loe Barrett and Todd Waketield were aware at all time that L&B’s_ Director of lntakes
Kenny Palacios and a Tearn Coordinator John Meneses were relocated to Costa Rica at
the same time in order to set up the office. They were provided weekly and sometimes
daily updates of the prcgess being made in Costa Rica,

14. The orderly transition of certain eases, personnel and assets ii'om L&B is outlined in
detail in a Memorandum circulated by Todd Waketield on June 5, 2017 only two months
ago. Attached as Exlnbit 1 is a true and correct copy of the June 5, 2017 Memorandum. iiiii

15 . 1n addition to that Memorandum, a Master Services Agreement was signed with l\/IL and
Maximum Legal (Costa Rica) to perform substantial services to ML for multiple years.

Maximum Legal (Costa Rica) is not a law iirm but a subsidiary ofMLS that is authorized
to conduct business in Costa Rica. That Master Services Agreement was signed in April
2017 . 111 anticipation of the perfonnance of those services, Costa Rican office space was
acquired, employees hired and families moved from California to Costa Rica to set up
this substantial operation

16. 1 made the L&B management team aware of my plans to step down from active litigation
practice in January 2017, to effectuate the new business model. Joe Barrett and Todd
Wakeiield were intimately involved in those plans. In fact, Todd Wakefield requested
that we have a partner meeting in Costa Rica with the intent of mixing a vacation in with
the work of transitioning into the MLS business model The idea that 1 have hidden
myself in Costa Rica to avoid responsibility on any level is patently false and belied by
dozens if not hundreds of e~mails that we exchanged about the opening of the Costa Rica

operations, and ML and its subsidiaries

 

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17. Between February 2017 through June of2017, myself, the lawyers at 3 ones Waldo and
Todd Wal<efield worked together on the formation of Maximum Legal, LLC and its
wholly-owned subsidiaries, which included Maximum Legal (California), LLP.

18. Signing packages were created for all interested parties, including Joe Barrett and Todd
Wal<eiield. All parties signed the required agreements in the Spring of 2017 .

19. Part of the restructuring contemplated the transfer the high-value cases from L&B to ML
in exchange for a twenty-iive percent referral fee back to L&B in recognition of the
substantial Worlc and expenses already incu1red by L&B on this portfolio. This
transaction was designed to ensure that L&B would have sufficient assets to satisfy all of
its obligations during its wind-down prccess, which included any client matters
outstanding, liens and the $4 million Advocate Capital loan

20. In April 2017, a Master Association Agreement Was signed between L&B and ML which
transferred a case portfolio worth approximately $10 million nom L&B to ML.

21. For the lower value cases still residing at L&B, a “Culling-List” was created whereby
Todd Wal<efield and team of 3 attorneys and 2 paralegals would attempt to settle, refer or
drop cases that didn’t make strategic sense for ML to take over. This process was
supposed to be completed by June 30, 2017 .

22. lt was anticipated that ML would initially occupy four separate locations in Los Angeles,
Park City, Miami and Scottsdale Arizona respectively.

23. l have read the declarations in support of the motion to appoint a trustee that allege that I
have transferred assets to myself from L&B, particularly real estate in Utah and Arizona.

24, L&B was being operated out of office buildings owned by L&B for which l was the

personal guarantor on almost $2 million of debt.

 

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25. Neither L&B nor ML were paying rent on the office suites in Arizona or Utah by April
2017. With over $14,000/ month due on the payments for which l was personally
responsible, Itool< it upon myself to find a tenant for the Utah and Arizona locations
I’ve recently learned that ML has abandoned those buildings ML has also abandoned
the Los Angeles office despite an agreement to occupy those spaces Attached as Exhibit
2 is a true and correct copy of the lease prepared by rl`odd Walceiield for the Utah
location

26, Since the plan was to wind down the affairs ofL&B within twelve months, a decision
was made to separate those assets into an LLC structure With the full knowledge ofl\/ir.
Barrett and Mr. Walcefield, those properties were transferred at fair market value to
Layfield V, LLC, which is an entity that l have a financial interest ln fact, Mr.
Wal<eiield prepared the deed transfers with the assistance of his spouse who works at a
title comp any.

27.'Those properties had very little equity since they had been acquired using 90% loan to
value SBA financing and were not rented at that time.

28, lt was agreed that we would credit the 10% equity position in those properties against
monies the L&B owed to me,

29, L&B owes me substantial monies 1 have unreimbursed expenses in excess of $500,000
and I am the personal guarantor of $4 million in litigation financing from Advocate
Capital.

30. l also advanced monies to L&B during 2017 in excess of $500,000. Attached as Exhibit
3 are true and correct copies ofbanl< statements showing those transfers Joe Barrett and

Todd Wal<eiield have never put one dollar into L&B.

 

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31. Shortly after starting the Costa Rican operations, pursuant to our plans as set out in the
Memorandum (Ex. 1) and the various other agreements related to ML and its subsiaries
in June 0f2017, Mr. Wakefleld and Mr. Barrett began behaving erratically. They refused
to communicate on basic issues like case status and began having secret meetings without
me. They ultimately fired almost the entire staff without my knowledge and with no .
nctice.

32. Mr. Wakeiield refused to honor the l\/laster Association Agreements with L&B and the
ML agreements with MLS and took extraordinary efforts to “choke-oft” all revenue to
L&B.

33. l\/lr. Waketield and Mr. Barrett filed a bankruptcy petition on behalf of Maximum Legal
(California), LLP without the approval of its corporate parent, ML, which l controlled the
majority cf the vote at the time. They have intentionally misled this court about the
ownership structure

34. I recently learned that Mr. Wakefreld and Mr. Barrett are attempting to avoid paying me
the $8 million they owe to me as part cfa plan to attack my character and L&B.

35. I have also become aware that l\/.[r. Wakelield and l\/lr. Barrett have been telling people
that L&B is out of business and that l have,fled the country. These statements are all
fals e. l maintain a 2nd residence in California in the same neighborhood for several years.

36. In early July of 2017, l became aware that l\/lr. Wakefield had abandoned the culling list
and was taking the position that Maximum Legal (California), LLP was not taking over
those cases. l attempted to communicate these issues with l\/lr. Wakeiield and he has

been unresponsive

 

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For the past three weeks, l have sent numerous communications to Mr. Wakeiield to sort
out the cases that were still remaining at L&B in order to ascertain if my list of L&B
cases was complete and accruate. Additionally, the Chief Operating Officer at MLS has
attempted to obtain that list as late as August 3, 2017 . Mr. Wakefield assured that he
would provide the list and 'he has failed to provide the list.

Myself, along with MLS’ Director of Litigation Support and MLS’ COO have spent the
last 10 days sorting through the cases abandoned by Mr. Wakefield and are actively
representing those clients.

As one example, Mr. Wakefield agreed to take the responsibility of filing a minor’s
compromise for a case settled by L&B, but he has completely failed to take even the iirst
steps towards filing the minor’s compromise motion l learned this today by virtue of an
email from defense counsel, L&B is now going to handle this petition A true and
correct copy of that entail is attached hereto as Exhibit 4.

L&B is a functioning law firm with cases throughout the United States. Currently, L&B
has 133 matters in various stages from pre~litigation, active litigation, cases which have
attorney liens, cases that have been referred to other lawyers as co-counsel, and cases that
are currently being referred ;

The value of these cases exceeds 350 million. l

The estimated legal revenues from these cases exceeds $6 million.

1 am more than capable of handling these matters and plan to hire addition staff to
maximize the value of the current matters

L&B has pending fees and costs recoverable of approximately $2 million.

 

 

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l am in charge of the L&B attorney client (IOLTA) accounts, and am now also in charge
of all l\/IL IOLTA accounts as a result of the recent terminations of Messrs. Wal<efiled
and Barrett from l\/lL. L&B has hundreds of cases and dozens of settlements that require
detailed accounting of costs, fees and client distributions. L&B suffered massive
turnover in its finance department with the departure of our controller in March 2017. l
have recently been able to hire two Certiiied Public Accountants at l\/ILS to take over the
administration of our IOLTA accounting. l will be supervising those accountants

Mr. Wal<etield oversaw the clos e~out function at L&B through June 30, 2017. He worked
with the accountants and finance team. For approximately 18 months, l\/h'. Wal<ei:ield
failed to properly account for costs, liens and other important issues. His failure to
discharge his basic duties made it extremely difncult and time consuming to finalize

close outs. l ultimately realized that I needed to take over this process, which l have.

47. The IOLTA accounting and transition with ML, and now disputes arising between L&B’s

48.

former lawyers and me has been an admitted quagmire But appointment of a Chapter 7
trustee will NOT make the matter better, it will make it worse. ML and L&B can and
will account for all funds owed to all clients, co-counsel and liendholders through the
Chapter ll process, Chapter ll is necessary to be able to properly administer this
process without the constant attacks on L&B hinds being levied improperly by Mr.
Barrett, l\/lr. Wal<efleld and The Dominguez Firm. ln short, they have been substantially

mterfering with L&B’s daily operations

With respect to the allegation about L&B’s phone number, being disconnected, that is

also intentionally misleading During the transition from L&B to l\/IL, it was anticipated

 

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that ML would take over the old L&B phone number and L&B would obtain a new toll~
free number. On l\/londay, July 318§ l learned that Maximum Legal (California), LLP
was abandoning all office space and not taking any phone numbers L&B quickly moved
to reprogram its phone system L&B’s toll-free number is 855-880~8335, and is working
L&B’s website was temporarily down while L&B rebranded to remove all old locations,
employees and outdated information. That website currently has a “coming soon” page
located at www.layiieldb arrett.com, but refers its viewers to our phone #

L&B has contracted with l\/lLS to provide back office litigation support

h&B has assets in the millions of dollars

L&B has dozens of cases l am actively working to resolve

L&B has numerous cc-counsel relationships

As a result ofl\/lr. Waketield and Mr. Barrett’s smear campaign, L&B has suffered losses
in the millions ln fact, on one case that was set to resolve on August 8, 2017, L&B was
fired by the client as a direct result of their improper actions The legal fees in that case
alone were anticipated to be in the millions lf the case ultimately goes to trial, l
anticipate a verdict in excess of $20 million, which legal fees of $8 million.

When l learned of the extent of the misconduct by Messrs. Barrett & Wakei:leld, l
terminated them as Managers of Maximum Legal, LLC effective August 5, 2017. l also
terminated Mr. Wakeiield as CEO cf Maximum Legal, LLC. Additionallyi lredeemed
their ownership in Maximum Legal, LLC. This was all done with the advice of counsel
as to the proper mechanism under the Maximum Legal, LLC Operating Agreement. A
true and correct copy of the Operating Agreement of Maximum Legal, LLC is attached

herewith as Exhibit 5.

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5 6. On June 30, 2017, I held a status meeting with attorneys at L&B and ML to discuss many
pending matters that needed to be addressed l documented that meeting with follow up
notes Attached as Exhibit 6 is a true and correct copy of that email.

57 , Although l was hoping to spend the next year spearheading the growth of MLS, as a
result of the attacks on myself personally, L&B and l\/lL, lam going to dedicate myself to
resolving all outstanding issues with L&B and assert my rights as the 100% owner of
Maximum Legal, LLC.

58. l have instructed counsel to convert this involuntary Chapter 7 to a voluntary Chapter ll
reorganization Certainly, the mismanagement ofl\/lssrs. Wakeneld & Barrett have put a
massive financial strain on L&B and it is apparent that L&B will benefit from a
reorganization so that it can move to complete the collection of its assets, the payment of
all of its debts and the orderly transition of its nies

l declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct

Executed this 7“‘ day of August, 2017 in Tamarindo, Costa Rica.

 

rhiiip myriad

 

